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       1                     IN THE UNITED STATES DISTRICT COURT

       2                     FOR THE NORTHERN DISTRICT OF TEXAS

       3                                 AMARILLO DIVISION

       4   UNITED STATES OF AMERICA,             )    2:22-cr-00042-Z-BR-1
                                                 )
       5                    Government,          )
                                                 )
       6   VS.                                   )    Thursday, January 18, 2024
                                                 )    1:46 p.m. - 4:20 p.m.
       7   MANDIS CHARLES BARROW,                )
                                                 )
       8                    Defendant.           )    SENTENCING HEARING

       9

      10                          TRANSCRIPT OF PROCEEDINGS

      11                  BEFORE THE HONORABLE MATTHEW J. KACSMARYK

      12                        UNITED STATES DISTRICT JUDGE

      13

      14   A P P E A R A N C E S:

      15    FOR THE GOVERNMENT:               UNITED STATES ATTORNEY'S OFFICE
                                              BY: ANNA MARIE BELL, AUSA
      16                                      500 South Taylor Street, Suite 300
                                              Amarillo, Texas 79101
      17

      18   FOR THE DEFENDANT:                 UNDERWOOD LAW FIRM
                                              BY: SLATER ELZA, ESQ.
      19                                      PO Box 9158
                                              Amarillo, Texas 79105
      20

      21   COURT REPORTER:                    SHAYNA MONTGOMERY, CSR, RMR, CRR
                                              United States Court Reporter
      22                                      205 SE 5th Ave, Room 133
                                              Amarillo, Texas 79101
      23                                      (806) 468-3816

      24
           Proceedings reported by mechanical stenography and transcript
      25   produced by computer.




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       1                               P R O C E E D I N G S

       2                  THE COURT:    The Court calls Criminal Action Number

       3   2:22-cr-042-Z-BR-1, United States of America vs. Mandis Charles

       4   Barrow, for sentencing.

       5                  Are the parties ready to proceed?

       6                  MS. BELL:    The United States is ready, Your Honor.

       7                  MR. ELZA:    Slater Elza with the Underwood Law Firm

       8   here on behalf of Mr. Barrow and we're ready to proceed.

       9                  THE COURT:    Counsel for the United States is present.

      10   Counsel for defendant Mandis Charles Barrow is present.

      11                  Mr. Barrow, please acknowledge your presence in court

      12   today by stating your full name for the record.

      13                  THE DEFENDANT:    Mandis Charles Barrow.

      14                  THE COURT:    Mr. Barrow, you may participate in this

      15   hearing seated or standing, whatever is most comfortable and

      16   consistent with the advice of counsel.

      17                  The Court will make an announcement of its tentative

      18   determination on the pending motion for downward variance and

      19   then we'll proceed with sentencing.

      20                  The Court did review defendant's sentencing

      21   memorandum and request for downward variance set forth in

      22   Document Number 165.          Based on the information contained in the

      23   PSR and the addendum, the Court has tentatively determined that

      24   a nonguidelines downward variance is not sufficient pursuant to

      25   the factors set forth at 18 U.S.C. Section 3553(a), but the




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       1   Court did make this announcement of its tentative determination

       2   to allow the parties adequate opportunity to respond with

       3   argument and additional information.             The time to do so is

       4   after the Court calculates and announces the advisory

       5   guidelines range.          We will then take up any variance issues at

       6   that time.

       7                  Now, Mr. Barrow, you appeared before this Court for a

       8   criminal trial on September 5th, 2023.             On September 7, 2023,

       9   you were convicted by a jury of your peers on three counts:

      10   Number one, conspiracy to distribute and possess with intent to

      11   distribute 500 grams or more of methamphetamine, in violation

      12   of 21 U.S.C. Section 846; Number two, distribution and

      13   possession with intent to distribute 500 grams or more of

      14   methamphetamine, in violation of 21 U.S.C. Sections 841(a)(1)

      15   and 841(b)(1)(A)(viii), that's viii; Number three, possession

      16   with intent to distribute 500 grams or more of methamphetamine,

      17   in violation of 21 U.S.C. Sections 841(a)(1) and

      18   841(b)(1)(A)(viii), also viii.

      19                  Now, Ms. Bell, did the Government receive a timely

      20   copy of the PSR and addendum?

      21                  MS. BELL:    Yes, Your Honor.

      22                  THE COURT:    Other than the Government's written and

      23   timely responses in Documents Number 161, 163 and 166, does the

      24   Government have additional information, responses,

      25   clarifications or arguments relevant to the PSR or addendum?




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       1                  MS. BELL:    No, Your Honor.

       2                  THE COURT:   Does the Government adopt the facts and

       3   conclusions set forth in the PSR as modified by that addendum?

       4                  MS. BELL:    Yes, Your Honor.

       5                  THE COURT:   Now, Mr. Elza, did you and your client

       6   receive timely copies of both the PSR and addendum?

       7                  MR. ELZA:    Yes, Your Honor.

       8                  THE COURT:   And did you have a full and complete

       9   opportunity to review the PSR and addendum with your client?

      10                  MR. ELZA:    Yes, Your Honor.

      11                  THE COURT:   And did you explain to your client how

      12   the PSR and addendum work in this sentencing hearing?

      13                  MR. ELZA:    Yes, Your Honor.

      14                  THE COURT:   Are you confident that your client fully

      15   understands both the PSR and addendum?

      16                  MR. ELZA:    Yes, Your Honor.

      17                  THE COURT:   Okay.    So there were a series of

      18   timely-filed objections, and I am grouping those objections as

      19   follows.       There are factual clarifications that are arguably

      20   rendered moot by the addendum, and then there are a series of

      21   other factual clarifications that may require findings of the

      22   Court but do not otherwise affect -- or do not affect the

      23   calculation of the advisory guidelines range.               And then there

      24   is a third category of objections that could potentially affect

      25   the calculation of the advisory guidelines range.                And we'll




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       1   take them up in those three groups.

       2                  So first, regarding defendant's Objections 13 and 14

       3   requesting factual clarification, the Court has tentatively

       4   determined that the information was corrected in the addendum

       5   and that Objections 13 and 14 are now mooted by that addendum.

       6                  Mr. Elza, do you agree that the addendum corrected

       7   the information in Objections 13 and 14 and they are thereby

       8   mooted?

       9                  MR. ELZA:    Yes, Your Honor.

      10                  THE COURT:   And does the Government agree that the

      11   addendum adequately addressed Objections 13 and 14 and that

      12   those objections are now moot?

      13                  MS. BELL:    Yes, Your Honor.

      14                  THE COURT:   Okay.    The Court so rules.        Objections 13

      15   and 14 are mooted by the addendum.

      16                  Next, also in the category of factual clarifications

      17   but not clarifications that would affect the calculation of the

      18   advisory range, Objections 1, 2, 4, 10, 11 and 12 requesting

      19   factual clarification not rendered moot by the addendum.

      20                  Mr. Elza, does the defendant continue to urge these

      21   factual clarifications?

      22                  MR. ELZA:    He does, Your Honor.

      23                  THE COURT:   Okay.    So I have further grouped those

      24   objections by category.         I will list for counsel the relevant

      25   categories which should include five matters of factual




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       1   clarification.       First, defendant's argument about inconsistent

       2   stories during the Rhome traffic stop.             And here, I'm

       3   referencing the Texas city of Rhome, R-H-O-M-E.                 Next, the

       4   facts relevant to multiple backpacks that were or were not

       5   delivered to Vincent Chavez, Jr.            Next, facts relevant to

       6   whether defendant did or did not enlist Vincent Chavez, Jr.

       7   Next, facts relevant to defendant's failure to report at least

       8   as set forth in the PSR.         And finally, objections relevant to a

       9   factual clarification specific to the Tulia drug bust as it's

      10   described by defendant.

      11                  So this'll be a lengthy set of tentative

      12   determinations on each of those factual clarifications.                 I'll

      13   instruct counsel for the Government and defendant to take good

      14   notes.    I will provide you my factual -- I'll provide you my

      15   tentative ruling on each factual determination, and then after

      16   all are done, invite responsive argument.              I'll just instruct

      17   counsel to keep close notes since there are multiple

      18   objections, multiple paragraphs and multiple analyses at issue.

      19                  I will read into the record my tentative

      20   determination on all of these factual clarification categories,

      21   then invite argument.          If at any time you need the Court to

      22   slow down so you can take better notes, please signal to my

      23   courtroom deputy and I'll make certain that I make the

      24   necessary accomodation.

      25                  So first category of factual clarification relevant




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       1   to inconsistent stories during the Rhome traffic stop, this is

       2   relevant to defendant's timely-filed Objection 1 to PSR

       3   paragraph 7 which stated that defendant and his codefendant

       4   gave inconsistent statements during a traffic stop in Rhome,

       5   Texas, specifically that this PSR paragraph 7 states that

       6   these, quote, "stories" differed in several ways, including the

       7   reason for their trip when they got gas and drinks and why they

       8   went from one gas station to another.

       9                  The Court has tentatively determined it should

      10   overrule defendant's Objection 1 for the following reasons.

      11                  This Court has already adjudicated the alleged

      12   inconsistency of statements made during the Rhome traffic stop.

      13   Quoting from this Court's order on the motion to suppress in

      14   Document Number 65, quote, "By this Court's assessment, there

      15   were at least ten inconsistencies between codefendant's

      16   statements.       Saldana explained they traveled to the Love's gas

      17   station because they had not filled the gas tank at the Big Z

      18   station.       Barrow denied traveling to the second station for

      19   more gas, explaining he filled the tank at Big Z.               Saldana

      20   later changed her story claiming they already filled their tank

      21   and weren't coming to get gas."          And it goes on to note other

      22   inconsistencies.

      23                  The Court finds that the information contained in the

      24   PSR does bear sufficient indicia of reliability for this Court

      25   to use at sentencing and that the defendant has not overcome




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       1   that indicia of reliability by merely arguing that, quote,

       2   "arresting" -- "the arresting officer was clear on multiple

       3   occasions that the stories of the defendants were similar."

       4   The Court is guided by United States vs. Solis, 299 F.3d 420, a

       5   Fifth Circuit case from 2002 that explains that mere objections

       6   do not suffice as competent rebuttal evidence; United States

       7   vs. Cabrera, 288 F.3d 163; and United States vs. Washington, 48

       8   F.3d 309 holding same.

       9                  Even if the PSR did not bear sufficient indicia of

      10   reliability, this Court would still overrule defendant's

      11   objections based on this Court's review of the video of the

      12   traffic stop and this Court's hearing of testimony by the

      13   arresting officer at trial and at the hearing on suppression,

      14   all of which support the PSR writer's conclusion in paragraph 7

      15   that codefendants did provide inconsistent reasons for stopping

      16   at the Love's travel center.

      17                  Next category, the multiple backpacks delivered to

      18   Vincent Chavez, Jr.       This pertains or at least correlates to

      19   Objection 2 to PSR paragraph 14 which states that defendant

      20   took multiple backpacks to Vincent Chavez, Jr.'s house.               The

      21   Court has tentatively determined that it should overrule

      22   defendant's Objection Number 2 because the information was

      23   received from otherwise reliable sources, and defendant's

      24   objections are insufficient to overcome the general rule that

      25   information contained in the PSR bear sufficient indicia of




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       1   reliability.

       2                  As with the last objection, the Court here is guided

       3   by the Solis, Cabrera and Washington cases explaining that mere

       4   objections do not suffice as competent rebuttal evidence.

       5   Additionally, that PSR paragraph 14 states that the defendant

       6   admitted he took backpacks to Chavez, Jr. and must be weighed

       7   alongside PSR paragraph 13 which states that the Drug

       8   Enforcement Agency discovered two backpacks containing

       9   narcotics in Chavez, Jr.'s residence.           Defendant is incorrect

      10   to assert that there is no factual basis for this statement and

      11   that it is incorrect.

      12                  The Court is also relying on its presence in

      13   presiding over the suppression hearing and trial, and by the

      14   Court's recollection, PSR paragraph 14 and 13 accurately

      15   summarize testimony that at all times was subject to

      16   cross-examination.

      17                  The Court overrules defendant's Objection 2 to PSR

      18   paragraph 14.

      19                  Number three, whether defendant enlisted or did not

      20   enlist Vincent Chavez, Jr.         This correlates to defendant's

      21   Objection 4 to PSR paragraph 18 which states that defendant,

      22   quote, "enlisted Vincent Chavez, Jr. to engage in illicit

      23   conduct."       The Court has tentatively decided that it should

      24   overrule defendant's Objection Number 4 because the information

      25   contained in PSR paragraph 18 was derived from otherwise




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       1    reliable sources, and it is consistent with testimony presented

       2    during the defendant's trial and is further supported by

       3    exhibits presented by the Government through its papers filed

       4    ahead of this sentencing hearing.

       5                  Here, defendant centers his objection on the

       6    undisputed fact that law enforcement had been investigating

       7    Vincent Chavez since at least April 2020 and that defendant was

       8    in custody from 2011 until September 2020.              This is reflected

       9    in Document Number 162 at page 2.              From that, defendant argues

      10    he could not have enlisted Vincent Chavez, Jr. in any illicit

      11    conduct because Chavez was involved in the DTO -- by "DTO" the

      12    Court at all times means "Drug Trafficking Organization" --

      13    before the defendant was released from prison.

      14                  But this argument misunderstands the meaning of the

      15    verb "enlist," which merely means, quote, "to secure the

      16    support in aid of" or, quote, "employ or utilize in advancing

      17    some interest."      Here, the Court is quoting directly from

      18    Webster's Third New International Dictionary, the 1981 edition.

      19                  Here, there is ample evidence that defendant employed

      20    and utilized the support of Vincent Chavez, Jr. in illicit

      21    activities.      As outlined in the Government's brief, Vincent

      22    Chavez, Jr. admitted to acting as a, quote, "runner" for

      23    defendant and Victor Chavez.         This is -- this is -- this finds

      24    evidentiary support in Document Number 163 at page 10 citing

      25    Exhibit A.




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       1                  Additionally, Chavez also stated he was storing drugs

       2    for defendant, which were ultimately recovered by law

       3    enforcement.      DEA officers also observed Chavez sell

       4    methamphetamine, which Chavez claims to have only done with the

       5    permission of defendant.        Chavez also described himself as a

       6    quote, "middleman" between defendant and the distributors.

       7    While defendant may be correct that he was not the first person

       8    to recruit Vincent Chavez, Jr. into illicit activity, the PSR,

       9    the suppression hearing, defendant's trial and the exhibits

      10    produced by the Government, which this Court reviewed from

      11    start to finish, contain ample evidence that defendant did

      12    enlist the help of Vincent Chavez, Jr. to traffic narcotics in

      13    furtherance of the instant offense, at least as that term is

      14    properly applied in this sentencing context.

      15                  Next, here, this is Factual Clarification Category 4,

      16    the alleged failure to report.          Here, defendant's Objection

      17    Number 10 relates to PSR paragraph 41 stating that defendant

      18    missed some tests due to memory issues but nonetheless

      19    proactively worked with his probation officer to test after

      20    missing these tests.      The Court has tentatively determined it

      21    should overrule defendant's Objection 10 because defendant has

      22    produced no evidence or argument that the information described

      23    in PSR paragraph 41 is incorrect.

      24                  Instead, defendant asserts reasons for missing drug

      25    testing appointments, but as noted in the addendum, quote,




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       1    "Regardless of defendant's reasoning behind his failure to

       2    comply with conditions of supervised release, he nonetheless

       3    committed these technical violations."           Here, defendant makes

       4    no argument he did not commit the technical violations

       5    described in that PSR paragraph 41.            Even if he had, the

       6    technical violations described therein were obtained from

       7    otherwise reliable sources, and the probation officer further

       8    supplemented those conclusions in the addendum that followed.

       9    That addendum stated that defendant failed to report for drug

      10    testing on October 8 and 23 of 2020; December 10, 2020; and

      11    January 8, 2021.      Using the aforementioned Solis, Cabrera and

      12    Washington cases as guideposts, this Court finds that PSR

      13    paragraph 41 bears sufficient indicia of reliability for use at

      14    sentencing.

      15                  Next, and this would be the fifth factual

      16    clarification category, the dismissed charges are what

      17    defendant and counsel have referred to as the Tulia drug bust,

      18    and that is spelled T-U-L-I-A.          This pertains to defendant's

      19    Objections 11 and 12 to PSR paragraphs 50, 51 and 52.              Those

      20    paragraphs describe charges that were dismissed against

      21    defendant.      And for clarification, one of the dismissed charges

      22    is not Tulia, although other -- other parts of that paragraph

      23    are a direct reference to the Tulia investigation.

      24                  The Court has tentatively decided it should overrule

      25    defendant's objections because the information described in PSR




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       1    paragraphs 50, 51 and 52 were obtained from otherwise reliable

       2    sources, and again, defendant has failed to marshal sufficient

       3    evidence to overcome that indicia of reliability.

       4                  Specifically, defendant objects to these PSR

       5    paragraphs asserting that the charges described in PSR

       6    paragraph 50 and 51 were dismissed when authorities determined

       7    defendant was not the person involved in criminal conduct and

       8    asserts that the charges described in PSR paragraph 52 were

       9    dismissed when, quote, "Authorities determined that the

      10    narcotics agent Tom Coleman had perjured himself, compromising

      11    over 40 criminal cases."

      12                  While these PSR paragraphs do state that the charges

      13    against defendant were dismissed, this Court has not received

      14    or reviewed any evidence or documentation from defendant

      15    showing the reasons for the dismissal.           Here, the probation

      16    officers learned of the charge through a rap sheet that was

      17    made available to the officer in anticipation of the PSR.

      18    That's reflected in the following addendum.

      19                  Although the officer did request additional details

      20    about these three arrests, those requests remain unfulfilled as

      21    of the instant date, and because the probation officer did not

      22    receive additional documentation showing the reason for those

      23    case dismissals and because defendant has failed to marshal any

      24    evidence supporting his bare assertions, this Court has decided

      25    to overrule defendant's Objections 11 and 12 as they pertain to




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       1    PSR paragraphs 50, 51 and 52.

       2                  Now, in reaching these tentative determinations in

       3    these five categories, the Court at all times was guided by its

       4    recollection and observation of testimony and evidence adduced

       5    at the suppression hearing and at trial, and for all of the

       6    aforementioned reasons, the Court is overruling -- or has

       7    tentatively determined to overrule defendant's Objection 1, 2,

       8    4, 10, 11 and 12 for the aforementioned reasons.

       9                  At this time, I'll invite responsive argument or

      10    information that is not cumulative of the extensive written

      11    briefing already submitted to the Court.

      12                  Ms. Bell, you may proceed.

      13                  MS. BELL:    Nothing outside the written submissions,

      14    Your Honor.

      15                  THE COURT:   And, Mr. Elza, you may proceed with any

      16    additional information or argument that would not be

      17    cumulative.

      18                  MR. ELZA:    Okay, and I'll certainly attempt to not be

      19    cumulative, really probably attempt to add some context in

      20    here.

      21                  So on Objection Number 1 which related to PSR

      22    paragraph 7, the position that Mr. Barrow takes is that there

      23    was testimony that their stories were substantially similar.

      24    The parts about the gas stations is we had two people talking

      25    about three gas stations and a law enforcement talking about




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       1    two.   Those we just -- we do not think were inconsistent, and

       2    we think that the paragraph in the PSR does not provide an

       3    accurate reflection of what the evidence was at trial.

       4                  On Objection Number 2, which ties to paragraph 14,

       5    understand and respect the Court's citation of the interview

       6    from December that Mr. Barrow gave.            Mr. Barrow has provided

       7    the Court today -- provided to counsel, which I forwarded to

       8    the Court today, essentially a written allocution that talks

       9    about that interview and why what he said was not true.              We

      10    think that -- again, we acknowledge that he said it, but the

      11    evidence in context we believe would be that there was no

      12    delivery of one, much less two backpacks.            He did deny that in

      13    his objection.

      14                  Moving on to 4, the Court cited to the reliance on

      15    reliable testimony, and we would respectfully point out that

      16    that is the words of Vincent, who was visibly upset and being

      17    removed by arrest from his family and that what he said was

      18    self-serving in an attempt to deflect blame from himself and is

      19    not otherwise reliable.       There's no evidence that was ever

      20    produced that I can remember of any type of phone call to

      21    Mr. Barrow on that day.       Mr. Chavez, Jr. -- Vincent Chavez, Jr.

      22    was a major drug player and higher-up in the DTO long before

      23    Mr. Barrow was ever out of incarceration.

      24                  10, again, understand and respect the Court's

      25    position on that and that there is, in fact, a technical




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       1    violation, and I think we -- we would look foolish to deny that

       2    otherwise.      However, we believe that the added information

       3    submitted by Mr. Barrow provides context to that, which is

       4    important to understanding the information referenced in the

       5    PSR.

       6                  And then moving to the combined Objections 11 and 12

       7    which deal with paragraphs 50, 51 and 52, again, understand the

       8    Court's position that we did not submit evidence on those.                 I

       9    think in fairness to our position, it sounds like the PSR

      10    drafter attempted to find that information as well.

      11    Historically, right or wrong, my position on those is when we

      12    know information, even if it's anecdotally and can provide that

      13    even if we don't have access to those records, we list those as

      14    an objection or request for clarification or context to allow

      15    for the opportunity for the PSR drafter to maybe be able to

      16    find or confirm that information.              And that's why those

      17    objections were included.

      18                  Again, it's my hope and my intention was not to be

      19    cumulative.      We do adopt and incorporate our prior filed

      20    objections, but I thought it was important just to address

      21    those one or two issues on each of our objections.

      22                  THE COURT:   Any response from the Government to the

      23    additional information or argument provided by defense counsel?

      24                  MS. BELL:    Your Honor, with regard to Objection

      25    Number 1, my recollection of the testimony is that Mr. Elza




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       1    asked Ronnie Rapert whether or not there could have been a gas

       2    station in Fort Worth that they had stopped at, and that

       3    Mr. Rapert opined that there could have been but did not

       4    testify that there was a third gas station.             And so there was

       5    no evidence of a third gas station.

       6                  Your Honor, with regard to Objection Number 4, with

       7    regard to what Vincent A. Chavez told law enforcement, that was

       8    long before Mr. Barrow's arrest, Your Honor.             He gave an

       9    interview, which is attached to the Government's response.

      10    Your Honor, he gave a very gradual confession, Your Honor,

      11    which is very typical, and he gave statements against his own

      12    penal interest, Your Honor, that bear indicia of reliability.

      13    And, in fact, he is serving prison time based on his -- the

      14    evidence against him and his own statements that he made, Your

      15    Honor.

      16                  I think that's it, Your Honor.        Thank you.

      17                  THE COURT:   Okay.   For the reasons previously stated

      18    as the Court's tentative determination and supplemented by the

      19    facts and arguments provided by the AUSA in response to defense

      20    counsel's supplemental arguments, this Court adopts its

      21    tentative determination as its final ruling and is basing that

      22    ruling on Document Number 163 and the addendum, which the Court

      23    incorporates by reference.

      24                  And the Court adopts the tentative finding as

      25    supplemented by those documents and the arguments of the




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       1    Government as its final finding and hereby adopts the findings

       2    and conclusions set forth in PSR paragraphs 7, 14, 18, 41, 50,

       3    51 and 52 alongside the relevant addendum paragraphs, and this

       4    Court thereby overrules defendant's Objections 1, 2, 4, 10, 11

       5    and 12, none of which have a bearing on this Court's

       6    calculation of the advisory guidelines range.

       7                  Now, in the third and final category of timely

       8    objections submitted by defendant, the Court has grouped these

       9    objections by category.        These do potentially affect the

      10    calculation of the advisory guidelines range, and because they

      11    will require lengthy adjudication by the Court, I will invite

      12    any additional noncumulative information or argument after each

      13    one.

      14                  So continue to take good notes, but I will pause

      15    category by category as we go through these objections because

      16    they do potentially affect this Court's calculation of the

      17    advisory range.

      18                  Does defendant continue to urge the objections

      19    affecting the guidelines calculations?

      20                  MR. ELZA:    He does, Your Honor.

      21                  THE COURT:   Okay.   So here, as we did in the last

      22    category, I'll set forth the Court's tentative finding.              This

      23    is -- the Court's analysis is based on defendant's written

      24    objections in Document Number 162 and the Government's written

      25    response in Document Number 163 and the addendum.




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       1                  In the first category, inclusion of 200 kilograms of

       2    controlled substances, here, defendant's Objections 3 and 7

       3    relate to PSR paragraph 17 and 26, which attributes 200

       4    kilograms of methamphetamine to the defendant as part of his

       5    relevant conduct.      Based on the information contained in the

       6    PSR, addendum and the Government's response, and in light of

       7    relevant case law, this Court has tentatively determined it

       8    should overrule defendant's Objections Number 3 and Number 7

       9    for the following reasons.

      10                  As conceded by defendant, PSR paragraph 17 and 26

      11    accurately report admissions by defendant of trafficking,

      12    quote, "at least 300, probably 2- to 300 keys of

      13    methamphetamine between September 2020 and December 16, 2022 as

      14    part of his continuing role in the DTO."            This is reflected in

      15    Document Number 162 and at page 2 where the statements are

      16    attributable to Mr. Barrow.

      17                  Under Supreme Court and Fifth Circuit law, a

      18    sentencing court may properly approximate drug quantities when

      19    calculating relevant conduct when narcotics recovered in a drug

      20    seizure do not reflect the skill of the actual offense conduct.

      21    This is a straightforward application of Guideline Section

      22    2D1.1, Comment Note 5.        A Court may do so by extrapolating,

      23    quote, "from any information that has sufficient indicia of

      24    reliability to support its probable accuracy."             This is a

      25    direct quote from United States vs. Barfield, 941 F.3d 757, a




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       1    Fifth Circuit case from 2019 quoting United States vs. Valdez,

       2    a Fifth Circuit case from 2006 available at 453 F.3d 252.

       3                  Applied here, the Court expressly finds that the

       4    statements made by defendant do bear sufficient indicia of

       5    reliability to support their probable accuracy and therefore

       6    may be used by this sentencing court to determine relevant

       7    conduct.      The Court further finds that these drug quantities

       8    were trafficked as part of a series of drug trafficking

       9    offenses that were all part of a common scheme or course of

      10    conduct sufficient to be encompassed as relevant conduct.

      11                  In applying these principles of course of conduct or

      12    common scheme, the Court at all times was guided by United

      13    States vs. Nava, 957 F.3d 581, a Fifth Circuit case from 2020;

      14    United States vs. Rhine, a Fifth Circuit case from 2009, 583

      15    F.3d 878; and United States vs. Alaniz, A-L-A-N-I-Z, a Fifth

      16    Circuit 2013 case which may be found at 726 F.3d 586.

      17                  If anything, the Court finds that it is most likely

      18    that the PSR significantly undercounts defendant's relevant

      19    conduct because defendant originally told law enforcement he

      20    trafficked over 300 kilograms of methamphetamine rather than

      21    the more conservative estimate of 200 kilograms used by the

      22    PSR.   Here, the Court is referencing Document Number 163 at

      23    page 7.       When defendant revised his estimate to 200 to 300

      24    kilograms, he emphasized twice that he was -- that he had

      25    easily trafficked this amount, and in this case the PSR writer




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       1    used the more conservative bookend.

       2                  Here, defendant objects to reliance on these

       3    statements for two reasons.         First, he argues that he made

       4    these statements while under death threats from members of the

       5    DTO.   Second, he argues that the statements are not true since

       6    he exaggerated the quantity of drugs he actually trafficked in

       7    an effort to induce federal agents into incarcerating members

       8    of the DTO.      These arguments are set forth in Document Number

       9    162 at page 2.

      10                  The Court disagrees for the following reasons.

      11                  First, defendant produces no evidence to show that he

      12    was under threat of death from the DTO.            As noted in the

      13    Government response, defendant never mentioned threats against

      14    his life during the interview where he admitted to drug

      15    quantities.      The Government's response is found at Document

      16    Number 163, page 7.

      17                  Defendant further made no argument during his trial

      18    showing or proving that he trafficked drugs only because of

      19    death threats.      And additionally, defendant decided not to rely

      20    on a defense of duress.       To date, defendant has produced zero

      21    evidence that anyone threatened him in an effort to induce him

      22    to control -- I'm sorry, to traffic controlled substances.

      23    Quite to the contrary, defendant stated multiple times in

      24    multiple interviews with law enforcement that he owed the DTO

      25    monetary debts incurred during his term of imprisonment but




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       1    made no indication that he needed to repay this amount under

       2    threat of harm.

       3                  So here, the Court is relying on its own recollection

       4    of the trial proceedings, testimony and evidence presented at

       5    that trial and also Document Number 163-4 at page 8, which

       6    states, quote, "So you owe him roughly about 60,000?"               "Yes,

       7    somewhere around that," end quote.             That defendant felt an

       8    obligation to repay debts to individuals in the DTO unconnected

       9    from even allegations of threats of violence is insufficient to

      10    show that defendant's admissions should be disregarded by the

      11    sentencing court.      Second, defendant's argument that his

      12    statements were exaggerated or that he inflated relevant drug

      13    quantities likewise fails under binding Fifth Circuit

      14    precedent.

      15                  Here, defendant argues he exaggerated or inflated

      16    drug quantities to persuade law enforcement to arrest other DTO

      17    conspirators as a basis for disregarding admitted drug

      18    quantities, but the Fifth Circuit rejected a similar argument

      19    in United States vs. Barfield, 941 F.3d 757, a Fifth Circuit

      20    case from 2019.      Specifically, the Fifth Circuit explained

      21    where a defendant does not introduce evidence to rebute -- to

      22    rebut his post-arrest admission of relevant conduct, the

      23    district court may consider it at sentencing.              Counsel may find

      24    that direct quote at pinpoint 764.             Applied here, defendant has

      25    not presented any evidence sufficient to rebut his admission of




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       1    drug trafficking.

       2                  For those reasons and the reasons set forth in the

       3    Government's response and the probation officer's addendum,

       4    this Court has tentatively determined that it should overrule

       5    defendant's Objections Number 3 and Number 7.

       6                  I'll now invite --

       7                  MR. ELZA:    Your Honor?

       8                  THE COURT:   Yes.

       9                  MR. ELZA:    I'm sorry.    I turned to talk to my client.

      10    I missed the last part that you said, and I just want to make

      11    sure I don't miss something important.

      12                  THE COURT:   If you could tell me what you last

      13    recall, I can return to that point.            I was, in closing, citing

      14    to United States vs. Barfield, and then I was making a final

      15    statement of the tentative determination to overrule Objection

      16    3 and 7.

      17                  MR. ELZA:    The final statement is what I missed.

      18                  THE COURT:   Okay.

      19                  MR. ELZA:    Okay.   I apologize.

      20                  THE COURT:   So do you have -- I can repeat that the

      21    Court was relying on United States vs. Barfield.               There, the

      22    Court states that a defendant does not -- where a defendant

      23    does not introduce evidence to rebut his post-arrest admission

      24    of relevant conduct, the district court may consider it at

      25    sentencing.      Counsel can find that case at 941 F.3d 757,




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       1    pinpoint 764.

       2                  The Court stated and does continue to find that

       3    defendant has not presented evidence to the contrary, certainly

       4    not evidence sufficient to rebut the testimony and evidence

       5    bearing sufficient indicia of reliability.            And for all those

       6    reasons the Court has tentatively determined that it should

       7    overrule Objections 3 and 7 to PSR paragraphs 17 and 26, and

       8    this entire category addresses the controlled substances that

       9    are properly attributable to defendant as calculated in those

      10    paragraphs.

      11                  Ms. Bell, you may proceed with any information or

      12    argument that is not cumulative of the written submissions to

      13    the Court.

      14                  MS. BELL:    Nothing outside the written submissions,

      15    Your Honor.

      16                  THE COURT:   Anything from defendant?

      17                  MR. ELZA:    And just confirming you're asking solely

      18    related to Objections 3 and 7?

      19                  THE COURT:   Yes.

      20                  MR. ELZA:    Okay.   Again, not to be cumulative because

      21    we will rely on our written objections, I would again harken

      22    back to my argument a little bit ago, which is we can see and

      23    respect the Court's view that these were admissions from him,

      24    but in context they're not true and he maintains that they're

      25    not true.




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       1                  I'd also like to incorporate the written allocution

       2    that we -- that I received today that we provided to the Court

       3    right before we started.        I don't know if the Court's had time

       4    to read that, but Mr. Barrow in his own words talks about what

       5    was going on in that hearing and I would just incorporate his

       6    words.

       7                  THE COURT:   Okay.   So here, the Court did receive and

       8    did mark as defendant's Exhibit A a written allocution.                It is

       9    in handwritten form.        It spans five pages and it bears

      10    defendant's signature.        The Court did review Exhibit A prior to

      11    the sentencing hearing.        It was my understanding that this

      12    would be used as an allocution, but you've made reference now

      13    to this Exhibit A twice.        But because this one -- this one

      14    reference is more particular to exact sentences specific to

      15    exaggerated or inflated drug quantities, I'll ask that you call

      16    out the specific lines in Exhibit A that you're referencing.

      17                  MR. ELZA:    And first of all, I guess I apologize to

      18    the Court for the lateness of it.              I got it -- we met last

      19    night for a good bit of time.         He wanted to rewrite it, and so

      20    when I got it today, I tried to get it to the Court as quickly

      21    as possible and fair that it was --

      22                  THE COURT:   And again, yes, I understand -- I find

      23    that defense counsel had good cause for the delay.                This Court

      24    has photocopied defendant's Exhibit A.             It was denominated as

      25    an allocution, but it can certainly be marshalled in support of




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       1    any argument you want to make.          The Court has also provided

       2    copies to the Government and court staff, so you can make

       3    reference to any section.          I just want to make certain I

       4    understand your supplemental argument to Objections 3 and 7,

       5    and if you'll call out by page number and section what

       6    information in Exhibit A should be used to supplement your

       7    Objection 3 and 7.

       8                  MR. ELZA:    The -- Mr. Barrow would point the Court to

       9    page 1 which gives the context about how that meeting came into

      10    play.   Moving into page 3 --

      11                  THE COURT:   Well, specific -- let's just go --

      12                  MR. ELZA:    Yeah, I'm sorry.

      13                  THE COURT:   -- page by page.      On page 1, I see a

      14    reference to a proffer, proffer agreements, defendant's

      15    insistence on absolute immunity and some of the negotiations

      16    between defendant and investigators and prosecutors, but

      17    what -- what particular sentence is relevant to Objection

      18    Number 3 and 7?

      19                  MR. ELZA:    Okay.   So I guess what I'd say is that's

      20    the intro to the proffer I'm talking about.

      21                  THE COURT:   Okay.    So you're just using page 1 to

      22    sort of frame what you argue are exaggerated and inflated

      23    statements later?

      24                  MR. ELZA:    Yes.

      25                  THE COURT:   Okay.    So let's move to the next relevant




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       1    page.

       2                  (Pause in proceedings.)

       3                  MR. ELZA:    Okay.   One second, Your Honor.

       4    Mr. Barrow's pointing out to me and then I will relay to the

       5    Court just as quickly as I get it.

       6                  (Pause in proceedings.)

       7                  MR. ELZA:    Okay.   Whenever the Court's ready.

       8                  THE COURT:   Please proceed.

       9                  MR. ELZA:    On page 1, starting probably about 80

      10    percent down the page towards the right side, it's a sentence

      11    that begins with "I requested."

      12                  THE COURT:   I'm at the same point.

      13                  MR. ELZA:    I requested -- and -- "I requested that I

      14    have absolute immunity because I was not present for the

      15    proffers of Victor or Vincent Chavez, and the information I was

      16    told to relay was falsely made to implicate me so that it would

      17    look like I was capable of being the missing link that could

      18    secure the arrest of the individuals the government was

      19    interested in."

      20                  THE COURT:   Okay.   Understood.      Next page, please.

      21                  MR. ELZA:    I've been directed to page 3, very close

      22    to the same place on the page, probably not quite 80 percent

      23    down, sentence begin with "I."          "I was told what to say in

      24    hopes of securing cooperation agreement for them."              I believe

      25    Mr. Barrow would say referring back to Vincent and Victor.




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       1    And -- and "It's for that reason I am here trying to protect

       2    myself and my family has put me in this predicament because I

       3    trusted the government would act in good faith towards me like

       4    they suggested they would but didn't obviously."

       5                  Okay.   I think those would be the citations that the

       6    Court was requesting.

       7                  THE COURT:   Okay.   So I will add those supplemental

       8    arguments rooted in defendant's Exhibit A at the sentencing

       9    hearing and just invite brief response from the Government.

      10                  MS. BELL:    Thank you, Your Honor.

      11                  Your Honor, based on the testimony at trial, Agent

      12    Brown and Agent Koval testified that Mr. Barrow was read his

      13    Miranda warnings before he made the December 2021 statement,

      14    that he was not offered any promises.            He was not there for a

      15    proffer nor granted immunity or promised immunity.               He now

      16    makes self-serving statements, Your Honor, that put forth his

      17    narrative, Your Honor, but I would point the Court to Document

      18    163, page 9.      Again back to the Barfield case, the Court

      19    stated, quote, that "It is proper for the district court to

      20    rely on a presentence report's construction of evidence to

      21    resolve a factual dispute rather than relying on the

      22    defendant's version of the facts."             That can be found at

      23    Barfield at pincite 766.

      24                  Your Honor, the defendant's statements that he makes

      25    now contradict certainly what he told law enforcement in




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       1    December of 2021.      He never told the officers that he was

       2    making these statements that were lies.            Your Honor, there was

       3    evidence in his phone to back up his statements that he was

       4    engaged in large-scale trafficking of narcotics, Your Honor.

       5                  And so based on all of that, we would ask the Court

       6    to overrule the defendant's objection.

       7                  THE COURT:   The Court hereby adopts its tentative

       8    determination as its final finding as supplemented by the

       9    argument of the AUSA at the sentencing hearing, and the Court

      10    incorporates those reasons alongside the Government's response

      11    in the addendum, and for those reasons overrules defendant's

      12    Objections Number 3 and Number 7 to PSR paragraphs 17 and 26.

      13                  Next, the Court will address the leadership role

      14    adjustment.      This is defendant's Objection Number 5 to PSR

      15    paragraphs 19 and 29 which apply the leadership role adjustment

      16    specific to the drug trafficking organization.

      17                  The Court has tentatively determined as follows.

      18                  In accord with the factors listed at Application Note

      19    2 of Section 3B1.1 of the guidelines and the following

      20    fact-based determination, the Court has tentatively determined

      21    it should overrule the objection in part and sustain in part.

      22                  First, Section 3B1.1(c) states, quote, "If the

      23    defendant was an organizer, leader, manager or supervisor in

      24    any criminal activity other than described in Part A or Part B,

      25    increase by two levels."        Application Note 2 further explains




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       1    that, quote, "To qualify for an adjustment under this section,

       2    the defendant must have been the organizer, leader, manager or

       3    supervisor of one or more other participants."

       4                  Applied here, information bearing sufficient indicia

       5    of reliability contained in the PSR, testimony presented at

       6    trial and exhibits presented by the Government at sentencing

       7    all support this Court's finding that the defendant's role in

       8    the DTO rose to at least the level of manager or supervisor

       9    sufficient to qualify for the two-level increase set forth at

      10    Section 3B1.1(c).

      11                  Evidence shows that defendant used Vincent Chavez,

      12    Jr.'s home as a, quote, "stash house" for his drug trafficking

      13    organization and allowed Chavez, Jr. to sell drugs on his

      14    behalf.       This is also reflected in Document Number 163 at page

      15    11, Exhibit A.

      16                  Chavez was also required to obtain permission from

      17    defendant before selling narcotics, demonstrating defendant had

      18    at least a managerial role over him.            Text messages recovered

      19    from defendant's phone likewise show that he recruited drivers

      20    to traffic controlled substances from Mexico as part of the

      21    DTO.   He instructed workers in the DTO on how to operate and

      22    generally exercise a managerial role over individuals working

      23    within the DTO.       This is also reflected in Document Number 163

      24    at pages 11 through 16.

      25                  For these reasons, the Court has tentatively




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       1    determined it should overrule defendant's objections to the

       2    application of the two-level increase pursuant to Section

       3    3B1.1(c).      However, defendant also objects to PSR paragraph 19

       4    which states that defendant exercised this leadership role for

       5    no less than one year, that year being 2021.             As argued by

       6    defendant, he could not have exercised a leadership role for

       7    the entirety of 2021 because he spent a significant portion of

       8    that year incarcerated.       This is argued in Document Number 169

       9    at page 3.

      10                  Applied here, PSR paragraph 49 supports this

      11    assertion by showing defendant was arrested for the instant

      12    offense on February 18, 2021.         On balance, the Court finds that

      13    the evidence of defendant's incarceration for the instant

      14    offense constitutes sufficient permissible rebuttal evidence

      15    necessary to overcome the PSR's overall indicia of reliability

      16    in asserting that defendant maintained a leadership role in the

      17    DTO for the entirety of the year 2021.

      18                  Without evidence defendant continued his criminal

      19    enterprise while incarcerated, which is a possibility, this

      20    Court finds that the PSR should be amended to remove this

      21    reference and has tentatively decided to sustain defendant's

      22    objection to this reference in the PSR.            However, this

      23    clarification to the PSR does not affect the Court's tentative

      24    ruling that defendant qualifies for a two-level increase in the

      25    total offense level under Section 3B1.1(c).




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       1                  In summary, the Court overrules defendant's Objection

       2    Number 5 to PSR paragraphs 19 and 29 vis-a-vis the two-level

       3    increase pursuant to Section 3B1.1(c), but sustains defendant's

       4    objection to the PSR paragraph 19 reference to the duration of

       5    that leadership role during defendant's period of

       6    incarceration.

       7                  And at this time, I'll invite any argument or

       8    additional information that is not cumulative of the written

       9    work product.

      10                  Ms. Bell, you may proceed.

      11                  MS. BELL:    Nothing outside the written documents,

      12    Your Honor.

      13                  THE COURT:   And, Mr. Elza, you may proceed with any

      14    argument that is not cumulative.

      15                  MR. ELZA:    And in an attempt to economy, we would

      16    incorporate my recitation or my supplementation and argument to

      17    Objection Number 4 to paragraph 18 that was taken up in the

      18    last set since those tie in factually.

      19                  THE COURT:   And that prior objection now ruled on is

      20    Objection Number 10 to PSR paragraph 41, the failure to report?

      21                  MR. ELZA:    I'm sorry, I may have misspoken.         I -- to

      22    paragraph 4.

      23                  THE COURT:   Oh, you're not referencing a prior

      24    objection already adjudicated but another document.

      25                  MR. ELZA:    Or no.   Okay.      I'm going to start over




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       1    because I think I took us down the wrong path.

       2                  THE COURT:   Okay.    Strike all of that.        When lawyers

       3    start talking numbers it can get confusing.             We all went to law

       4    school to avoid math.

       5                  MR. ELZA:    So my understanding is that we are

       6    addressing Objection 5 to paragraphs 19 and 29.

       7                  THE COURT:   Correct.

       8                  MR. ELZA:    And in my written objection on behalf of

       9    Mr. Barrow, I incorporated the written arguments from Objection

      10    4 to paragraph 18 above.

      11                  THE COURT:   Okay.

      12                  MR. ELZA:    And so what I was trying to do in a simple

      13    manner that I've complicated is to also incorporate my argument

      14    to the Court today on the previously-adjudicated Objection 4 to

      15    paragraph 18 here, and probably would have been quicker if I

      16    would have just rehashed it and I apologize.

      17                  THE COURT:   Understood.     And so this would be

      18    specific to Objection 4 which pertained to the use of the

      19    terminology "enlist" or counsel's understanding of that term as

      20    used in PSR paragraph 18.          This Court has already overruled

      21    Objection Number 4 and thereby intends to give full effect to

      22    PSR paragraph 18.

      23                  What else would you squeeze from that argument into

      24    this Objection Number 5?

      25                  MR. ELZA:    My focus from 4 would have been from my




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       1    argument today, as well as the written objection to Number 4 on

       2    where Vincent is in the -- in the drug trafficking

       3    organization --

       4                  THE COURT:   Okay.

       5                  MR. ELZA:    -- which is again -- I mean, he was a

       6    bigwig long before Mr. Barrow was around, and, in fact, in

       7    discovery talks about Victor's the one that introduced Vincent

       8    to Barrow.      So again, just for added context and clarification,

       9    we would add that to our argument -- or to our objection.

      10                  THE COURT:   Understood.

      11                  And I'll invite a brief response from the Government.

      12                  MS. BELL:    Just for the record, there is no evidence

      13    whatsoever that Vincent Chavez, Jr. was a bigwig or a higher-up

      14    in the drug trafficking organization.           In fact, all the

      15    evidence is to the contrary, Your Honor.            Thank you.

      16                  THE COURT:   Okay.   Thank you, counselor.

      17                  The Court does agree with the AUSA's response to

      18    defense counsel's supplemental argument.

      19                  (Pause in proceedings.)

      20                  THE COURT:   And in direct response to defendant's

      21    supplemental argument at the sentencing hearing which

      22    incorporated by reference his Objection Number 4 now overruled,

      23    I would add Guideline Section 3B1.1(c), Application Note 4

      24    commentary that explains "In distinguishing a leadership and

      25    organizational role from one of mere management or supervision,




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       1    titles such as 'kingpin' or 'boss' are not controlling.

       2    Factors the Court should consider include the exercise of

       3    decision-making authority, the nature and participation in the

       4    commission of the offense, the recruitment of accomplices, the

       5    claimed right to a larger share of the fruits of the crime,"

       6    et cetera, et cetera.

       7                  This Court is not finding that defendant is an

       8    organizer or leader under Section 3B1.1(a) and that defendant

       9    can point to others within the DTO who might arguably qualify

      10    for the 3B1.1(a) enhancement.         It is of no effect at this

      11    sentencing when the Court is applying the 3B1.1(c) enhancement.

      12                  And for the reasons previously stated, the case law,

      13    the analysis and also the Government's response and the

      14    probation officer's addendum, this Court does overrule

      15    defendant's Objection Number 5 and will apply PSR paragraph 19

      16    and 29 as written.

      17                  Next, regarding the Saldana affidavit, here,

      18    defendant's Objection Number 6 pertains to PSR paragraphs 20,

      19    23 and 30, which describe and apply a sentencing enhancement

      20    relevant to codefendant's affidavit.           The Court has tentatively

      21    determined that it should sustain defendant's objection.              In

      22    light of Guideline Section 3C1.1, applicable guidelines

      23    commentary and relevant case law, the Court finds that

      24    defendant has made his case, and this Court will sustain

      25    defendant's objection.




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       1                  Section 3C1.1 states that defendant's offense level

       2    should be increased by two levels where defendant willfully

       3    obstructed or impeded or attempted the same, the administration

       4    of justice with respect to the investigation, prosecution or

       5    sentencing of the instant offense of conviction; and, two, the

       6    obstruction related to the defendant's offense of conviction

       7    and any relevant conduct or a closely-related offense.

       8                  Here, the PSR states defendant qualifies for this

       9    enhancement because he sent text messages to USPO Bailey,

      10    B-A-I-L-E-Y, stating he did not possess the controlled

      11    substances in the instant offense and because he unlawfully

      12    influenced his codefendant in the instant offense to provide

      13    materially-false information.         This is reflected in PSR

      14    paragraphs 20 and 23.

      15                  First, the Court will address the text message to

      16    USPO Bailey.      In those messages, defendant describes the Rhome

      17    traffic stop seizure of controlled substances and asserts both

      18    that he was unaware of the methamphetamine in the vehicle and

      19    that his codefendant would be submitting an affidavit taking

      20    responsibility for same.        That is reflected in PSR paragraph 11

      21    and 12.

      22                  But Application Note 2 of Section 3C1.1 states that,

      23    quote, "This provision is not intended to punish a defendant

      24    for the exercise of a constitutional right, including a denial

      25    of guilt other than a denial under oath that constitutes




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       1    perjury."      Instead, refusal to admit guilt to a probation

       2    officer expressly does not constitute willful obstruction of

       3    justice.      Defendant's assertion he was unaware of the presence

       4    of methamphetamine in his car comports with his assertion of

       5    innocence and insistence of holding the Government to its

       6    burden of proof at trial.

       7                  Additionally, the Court finds that defendant's text

       8    message to USPO Bailey did not rise to the level of seriousness

       9    contemplated by the examples of covered conduct in Application

      10    Note 4 to the same guideline.

      11                  Next, the PSR states that defendant qualifies for an

      12    obstruction of justice enhancement for unlawfully influencing

      13    his codefendant to provide materially-false information to the

      14    probation officer.      The PSR seems to reach this conclusion

      15    based on defendant's assertion to his PO that his codefendant

      16    would submit such affidavit, his codefendant's assertion of

      17    innocence during the Rhome traffic stop and the codefendant's

      18    subsequent acquittal at trial.          The Government supports this

      19    conclusion by identifying defendant's December 16, 2021

      20    interview with DEA where he stated his codefendant was not

      21    involved in the instant offense.          This is reflected in Document

      22    Number 163 at pages 14 and 15.

      23                  From this, the Government contends that, quote, "The

      24    only logical explanation for Saldana falsely confessing to the

      25    methamphetamine is that someone induced her to do so, and the




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       1    only person who had a motive for Saldana to take the fall is

       2    Barrow."      The Court is quoting from Document Number 163 at page

       3    14.

       4                  On balance the Court disagrees.        Instead, there are

       5    many reasons why defendant's codefendant, whom he was in a

       6    romantic relationship with at the time, may have written the

       7    affidavit at issue.      The Government and PSR's assertion that

       8    defendant's influence over his codefendant caused her to write

       9    the affidavit is one interpretation but not the only.              The

      10    conclusion that defendant's influence was unlawful requires a

      11    further inference that is unsupported by the evidence sub

      12    judice.

      13                  Here, the Court does not find by a preponderance of

      14    the evidence that the affidavit resulted from defendant's

      15    unlawful influence over his codefendant, and the Court further

      16    finds that the conclusions reached in the PSR as to unlawful

      17    influence are not supported by an adequate evidentiary basis,

      18    even if a logical inference in one theory of the case presented

      19    by the Government.      Here, the Court is guided by United States

      20    vs. Cabrera, 288 F.3d 163.

      21                  For all these reasons and reasons stated in

      22    defendant's Objection Number 6, the Court has tentatively

      23    determined that it should sustain defendant's objection to PSR

      24    paragraphs 20, 23 and 30.

      25                  I'll now invite any argument that would not be




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       1    cumulative of the written submissions.

       2                  Ms. Bell, you may proceed.

       3                  MS. BELL:    Nothing outside the written submissions,

       4    Your Honor.

       5                  THE COURT:   And anything further, Mr. Elza?

       6                  MR. ELZA:    Not on this objection, Your Honor.

       7                  THE COURT:   Okay.   So that your notes can be complete

       8    here, the Court is sustaining defendant's Objection Number 6 to

       9    PSR paragraphs 20, 23 and 30, and the Court will order the

      10    probation officer to reflect same.

      11                  Next, regarding methamphetamine actual, defendant's

      12    Objection Number 8 to PSR paragraph 26 objects to the use of

      13    methamphetamine actual when calculating drug quantities

      14    attributable to defendant.         In light of binding Fifth Circuit

      15    case law, the Court has tentatively decided to overrule

      16    defendant's objection.        As conceded by defendant, his argument

      17    is foreclosed by Fifth Circuit precedent.            Defense counsel

      18    admits this in Document Number 162 at 3.            The Court agrees with

      19    defense counsel's assessment that the issue is foreclosed and

      20    is guided by United States vs. Molina, 469 F.3d 408, a Fifth

      21    Circuit case from 2006.

      22                  And because of this binding Fifth Circuit precedent,

      23    the Court has tentatively determined it should overrule

      24    defendant's Objection Number 8 to PSR paragraph 26, though the

      25    Court finds that defense counsel capably and effectively




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       1    preserved the issue for further appellate review should that

       2    precedent suffer reversal.

       3                  I'll now invite any additional argument or

       4    information that would not be cumulative, beginning with

       5    Ms. Bell.

       6                  MS. BELL:    Nothing further, Your Honor.

       7                  THE COURT:    Anything further, Mr. Elza?

       8                  MR. ELZA:    No, Your Honor.

       9                  THE COURT:    Okay.

      10                  MR. ELZA:    Before we shift to the next one, can I

      11    make sure I'm not off on our objections?

      12                  THE COURT:    You may.

      13                  MR. ELZA:    7 -- Objection 7 which was paragraph 26,

      14    we've addressed it in other contexts I think, but did that need

      15    to be addressed with this group?

      16                  THE COURT:    I paired Objection Number 7 with

      17    Objection Number 3.        Both --

      18                  MR. ELZA:    Oh, I'm sorry.       I just saw my notes.

      19                  THE COURT:    Okay.

      20                  MR. ELZA:    I apologize.

      21                  THE COURT:    Again, lawyers with numbers.

      22                  MR. ELZA:    Yeah.

      23                  THE COURT:    This is why we hire forensic accountants

      24    to do this stuff.         Unfortunately, this is a sentencing context

      25    and we can't delegate this to a CPA.




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       1                  So yes, Objections Number 3 and Number 7 were grouped

       2    by the Court and adjudicated as a set, and they correspond to

       3    paragraphs -- PSR paragraphs 17 and 26.

       4                  Is there any additional clarification that you

       5    require?

       6                  MR. ELZA:    No.    No.    As soon as I started talking, I

       7    looked down and saw my note.

       8                  THE COURT:   Okay.

       9                  MR. ELZA:    I've got two sets of notes going and

      10    that's part of the problem.

      11                  THE COURT:   Okay.      Well, thank you for working with

      12    the Court to make sure the record is clear, but yes, I think

      13    that one has been asked and answered and the Court has ruled.

      14                  And I think we're to our final objection affecting

      15    guideline -- or potentially affecting guidelines calculation,

      16    defendant's Objection Number 9 to PSR paragraph 34 which

      17    calculates defendant's base offense level.

      18                  In light of the Court's previous ruling -- rulings,

      19    the Court has tentatively decided to sustain in part

      20    defendant's Objection Number 9 to the PSR's calculation of his

      21    base offense level.        This specifically relates to the Court

      22    sustaining defendant's Objection Number 6.               That will result in

      23    a different base offense level calculation.                Applying forward,

      24    all of the Court's rulings overruling and sustaining

      25    defendant's objection, the base offense level in the PSR should




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       1    be adjusted from 44 to 42.         And in that limited way, the Court

       2    sustains in part defendant's Objection Number 9 to give effect

       3    to this Court's aforementioned rulings on all of defendant's

       4    objections.

       5                  Finding that defense counsel has capably and

       6    effectively preserved for further appellate review all of the

       7    objections that were timely submitted, written and argued to

       8    the Court and that the net result is a change in the base

       9    offense level from 44 to 42, do I hear any objection to this

      10    ruling on defendant's Objection Number 9, Ms. Bell?

      11                  MS. BELL:    Your Honor, other than the Government's

      12    position already stated with regard to Objection Number 6 and

      13    9, Your Honor, no further comments, Your Honor.

      14                  THE COURT:   Okay.   Any further objection or argument

      15    on this last Objection Number 9?

      16                  MR. ELZA:    At risk of overgeneralization and perhaps

      17    duplication, I just would like to make clear that, you know,

      18    that objection to me really incorporates all of our objections,

      19    all the Government's responses and all of the Court's rulings

      20    because all of that is what we used to head towards a

      21    sentencing offense level.

      22                  So with that understanding --

      23                  THE COURT:   And that's why I said I find that you've

      24    preserved for further appellate review any objections timely

      25    submitted, written and argued.          I understand that point is made




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       1    here --

       2                  MR. ELZA:    Okay.

       3                  THE COURT:   -- a second time, but yes, I find that

       4    those arguments are preserved for further appellate review.

       5    That would arguably affect the final level, but the net effect

       6    of all those rulings, some overrulings, some sustaining

       7    objections, is that that final level should be adjusted from 44

       8    to 42.

       9                  MR. ELZA:    Based on --

      10                  THE COURT:   Any objection to those calculations based

      11    on the Court's rulings?

      12                  MR. ELZA:    No.    Based on the Court's rulings, that's

      13    the proper calculation.

      14                  THE COURT:   Okay.      And just for clarification,

      15    Ms. Bell, I understand that the Government may disagree with

      16    some of those rulings, but now that those are in place, any

      17    objection to the calculations that result?

      18                  MS. BELL:    No, Your Honor, just preserving the

      19    Government's argument with regard to Objection Number 6.

      20                  THE COURT:   Understood.

      21                  I find that the Government has capably and

      22    effectively preserved for further appellate review this Court's

      23    ruling on defendant's Objection Number 6.

      24                  Now, dare I invite any untimely arguments, given the

      25    extensive paperwork that we've put into this sentencing process




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       1    thus far.      I'm loathe to do so, but I do want to provide

       2    counsel for the Government and counsel for the defendant one

       3    last opportunity to urge any untimely objections or requested

       4    clarifications to the PSR or addendum.

       5                  Ms. Bell.

       6                  MS. BELL:    Your Honor, based on the Court's ruling

       7    with regard to Objection Number 6, I think there needs to be an

       8    adjustment to PSR paragraph 32 under 4B1.1(a) and perhaps PSR

       9    paragraph 34, Your Honor, just based on the Court's ruling.                Is

      10    that correct?

      11                  THE COURT:    Okay.   So PSR paragraph 32 --

      12                  MS. BELL:    The career offender enhancement, Your

      13    Honor, and then the total offense level in paragraph 34 states

      14    that when the total offense level is in excess of 43, the

      15    offense level will be treated as level 43.             Would that change

      16    Your Honor, or does 32 remain at 44?

      17                  (Pause in proceedings.)

      18                  MR. ELZA:    Can -- Your Honor?

      19                  THE COURT:    Any response from the defendant?

      20                  MR. ELZA:    Well, I was going to ask if you were

      21    waiting on someone, if I could have some private time --

      22                  THE COURT:    Yes.    I'm conferring with the USPO to

      23    make certain that there's no cascade effect to the Court's

      24    ruling on levels.         While we do that, I'll order the microphones

      25    disabled so you can have an attorney-client privileged




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       1    communication with the defendant.

       2                  (Off the record at 3:01 p.m.)

       3                  (On the record at 3:08 p.m.)

       4                  THE COURT:   Okay.   Regarding final argument of the

       5    Government that the net result of the Court's sustaining

       6    defendant's Objection Number 6, the Court sustains the

       7    Government's objection and instructs the probation officer to

       8    modify the PSR accordingly.

       9                  The adjusted offense level in PSR paragraph 31 should

      10    now read 42, not 44.       The same adjustment should apply to PSR

      11    paragraph 32, but the Court finds that it does not have any net

      12    effect on the advisory guidelines range by operation of

      13    Guidelines Section 4B1.1(a) and (b).           And defendant is --

      14    because defendant is already in Criminal History Category VI.

      15    So although PSR paragraph 32 is ordered adjusted from 44 to 42,

      16    it has no net effect on the guidelines calculations because

      17    defendant's criminal history is level VI and the charts that

      18    would otherwise apply don't affect any sliding scale for this

      19    defendant.

      20                  Finally, PSR paragraph 34 should be revised to

      21    reflect a total offense level of 42, changing the current

      22    number 43 to the revised number 42.

      23                  (Pause in proceedings.)

      24                  THE COURT:   So just to be pellucidly clear, when the

      25    Court said it doesn't affect -- any of these adjustments affect




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       1    the advisory guidelines range, I misstated.               I'm referring to

       2    the net effect of the career offender enhancement.                Because of

       3    the operative criminal history in this case, there is no

       4    sliding scale effect when the number -- when the offense level

       5    moves from 44 to 42, but it will affect the final advisory

       6    guidelines range when that offense level of 42 is combined with

       7    the Criminal History Category VI.              And those adjustments will

       8    be reflected in the Court's final calculation and pronouncement

       9    of the advisory guidelines range.

      10                  Anything further, Ms. Bell?

      11                  MS. BELL:    Only that I think paragraph 34 would be

      12    stricken, Your Honor, just because it's irrelevant.                If the

      13    base offense level isn't over 43, then the paragraph is

      14    unnecessary, Your Honor.        And so I would just suggest to the

      15    Court that we would strike that paragraph.              It doesn't need to

      16    be 42.    It's simply an unnecessary paragraph based on the

      17    Court's prior rulings.

      18                  THE COURT:   Any objection, Mr. Elza?

      19                  MR. ELZA:    No, not as to the text that follows total

      20    offense level, but I think at some point we have to have --

      21                  MS. BELL:    Oh, I'm sorry.

      22                  MR. ELZA:    -- a total offense level.         But I think the

      23    text goes away.

      24                  THE COURT:   Yeah.

      25                  MS. BELL:    Right, the text goes away.




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       1                  THE COURT:   That's right.

       2                  MS. BELL:    It's just the total offense level.        I

       3    apologize.

       4                  THE COURT:   That's simply result of the sentencing

       5    table that appears at the back of the manual.             The offense

       6    level only goes to 43.        That's why there's a Chapter 5, Part A

       7    comment.      The total offense level should still read 42, but

       8    there should be no reference to the now unnecessary Chapter 5,

       9    Part A, Comment Note 2 referencing what this Court should do

      10    when calculations produce an offense level in excess of 43.

      11                  MS. BELL:    Thank you, Your Honor.      Nothing further.

      12                  THE COURT:   Okay.   So...

      13                  (Pause in proceedings.)

      14                  THE COURT:   All right.     So I know we've gone through

      15    several objections, some overruled, some sustained, but now I

      16    think the Government, defense counsel and this Court are on the

      17    same page.      PSR paragraph 31 should be modified to reflect an

      18    adjusted offense level of 42.         Similarly, PSR paragraph 32

      19    should be adjusted to reflect the same number, 42.              And then

      20    PSR paragraph 34 should be revised to include the same number,

      21    42, minus the now unnecessary Chapter 5, Part A, Comment Note 2

      22    commentary, which would only apply when the Court calculates a

      23    total offense level in excess of 43, which is no longer the

      24    case.

      25                  Ms. Bell, does the Government agree that the Court




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       1    has arrived at the right result revising PSR paragraphs 31, 32

       2    and 34?

       3                  MS. BELL:    Those are the correct revisions, Your

       4    Honor.    Thank you.

       5                  THE COURT:   And does defense counsel agree that now

       6    that the Court has sustained certain defense objections, that

       7    PSR paragraphs 31, 32 and 34 are properly revised?

       8                  MR. ELZA:    Yes, we agree.

       9                  THE COURT:   Okay.    As both defense counsel and the

      10    Government understand, this Court must properly calculate an

      11    advisory guidelines range as a starting point before we

      12    proceed.      So I want to make certain that we all arrive at that.

      13                  Combined, the Court hereby adopts its tentative

      14    determinations as its final finding with exception to -- as

      15    explained for all of these objections affecting guidelines

      16    calculations, and the Court thereby adopts the findings and

      17    conclusions set forth in PSR paragraphs 17, 26 and 29 alongside

      18    the relevant addendum paragraphs.               The Court's ordered

      19    paragraphs 19, 20, 23, 30, 34, 31, 32 and 34 amended to reflect

      20    this Court's rulings.         And to be clear, this Court will not

      21    consider the two-level enhancement for obstruction of justice

      22    when calculating the final advisory guidelines range.

      23                  The Court is now moving to those calculations.

      24                  The Court -- having ruled on defendant's objections,

      25    the Court hereby adopts the remaining findings and conclusions




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       1    of the PSR and the addendum in their entirety except as

       2    modified by the Court, specifically except as modified to

       3    account for the Court sustaining defendant's Objection Number

       4    6.

       5                  Here, the Court is applying applicable federal

       6    statutes and the 2023 Guidelines Manual.            The Court has

       7    independently compared the 2023 Guidelines Manual to the

       8    guidelines that were in effect on the date of the instant

       9    offense of conviction and thereby determined that application

      10    of the 2023 Guidelines Manual will not violate the ex post

      11    facto clause of the Constitution or any other right of

      12    defendant.

      13                  Mr. Elza, does the defendant agree that this Court

      14    may apply that new 2023 Guidelines Manual?

      15                  MR. ELZA:    The defendant so agrees.

      16                  THE COURT:   Does the Government agree?

      17                  MS. BELL:    Yes, Your Honor.

      18                  THE COURT:   Before calculating and announcing the

      19    advisory guidelines range, the Court will note the impact of

      20    statutory maximums as outlined in the PSR.            Here, the

      21    statutorily-authorized maximum sentence is life imprisonment

      22    and the statutory maximum fine is $10 million.

      23                  Having considered the probation officer's

      24    calculations and conclusions and the PSR and addendum and

      25    having ruled on objections thereto, specifically defendant's




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       1    objections thereto, the Court determines that the final correct

       2    advisory calculations are as follows:            total offense level 42,

       3    Criminal History Category VI, imprisonment range of 360 months

       4    to life imprisonment, a supervised release range of five years

       5    to each count, a fine range of 50,000 up to $10 million, and

       6    restitution in the form of community restitution.

       7                  And does defense counsel have any objections to the

       8    Court's calculation of the advisory guidelines range?

       9                  MR. ELZA:    No, that appears to be the proper

      10    guideline range based on the rulings today.

      11                  THE COURT:   Okay.   Any objection to the calculations,

      12    Ms. Bell?

      13                  MS. BELL:    No, Your Honor.

      14                  THE COURT:   The Court will apply that advisory

      15    guidelines range.

      16                  As discussed at the outset of this hearing, the Court

      17    has tentatively determined that nonguide -- a nonguidelines

      18    downward variance is insufficient.             I'll now set forth factor

      19    by factor this Court's reasons for denying or tentatively

      20    determining it should deny defendant's motion for downward

      21    variance.

      22                  Pursuant to Section 3553(a)(1), the history and

      23    characteristics of this defendant includes a lengthy criminal

      24    history of violent and drug-related offenses.              Defendant's

      25    criminal history began as early as 18 years of age when he was




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       1    convicted of aggravated robbery.          This is reflected in PSR

       2    paragraph 38.      There, defendant approached, assaulted and

       3    robbed an individual alongside four accomplices.               Defendant

       4    then instructed the victim to return to his home and retrieve

       5    money that he possessed there.          Defendant then showed the

       6    victim what he indicated to be a handgun and told defendant if

       7    he alerted authorities to the commission of this crime

       8    defendant would harm him and the victim's wife.                That is

       9    reflected in PSR paragraph 38.

      10                  Defendant has another conviction for evading arrest

      11    and disorderly conduct, neither of which received criminal

      12    history points but were detailed in PSR paragraphs 39 and 40.

      13    And defendant's conviction for disorderly conduct, a law

      14    enforcement officer observed defendant participate in a mob

      15    that pulled a man from his vehicle and began beating him.

      16    While the victim was on the ground and unresponsive, the mob

      17    continued assaulting the victim by kicking him.                Again, this

      18    violent behavior received no criminal history points.

      19                  Defendant also has convictions for trafficking

      20    controlled substances similar to the commission of the instant

      21    federal offense of conviction.          In one of those cases,

      22    defendant pleaded guilty to conspiracy to distribute and

      23    possess with intent to distribute 50 grams or more of cocaine

      24    base.   This is reflected in PSR paragraph 41.            In this case,

      25    defendant established a network of individuals in Midland,




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       1    Texas whom he employed to distribute crack cocaine as part of

       2    an organized DTO.      Defendant's criminal history also reflects

       3    that he trafficked narcotics in a vehicle alongside $51,120 in

       4    U.S. currency, a loaded nine-millimeter Taurus handgun and a

       5    loaded .40 caliber Smith & Wesson handgun.            This is reflected

       6    in PSR paragraph 42.

       7                  The Court notes that the Fifth Circuit has identified

       8    this combination of drugs and firearms as tools of the trade.

       9    The Court refers counsel to United States vs. Zapata-Lara,

      10    615 F.3d 388, for that terminology.

      11                  Additionally, defendant fled from law enforcement

      12    during the commission of that offense, as reflected in PSR

      13    paragraph 42.      The length of defendant's criminal history

      14    spanning the entirety of his adult life, the violent nature of

      15    many of these offenses along with his repeated participation in

      16    drug trafficking all constitute facts and factors that this

      17    Court finds are aggravating in the extreme and weigh heavily

      18    against granting defendant's motion for downward variance.

      19                  Next, pursuant to Section 3553(a)(2)(A) which

      20    requires the Court to consider the nature and circumstances of

      21    the offense, to reflect the seriousness of and to provide just

      22    punishment for the offense, here, defendant trafficked 3,836

      23    grams of methamphetamine actual, 853.4 grams of cocaine, 108.7

      24    grams of fentanyl, 2,885 grams of methamphetamine actual and at

      25    least 200 kilograms of methamphetamine mixture.                This is all




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       1    reflected in PSR paragraph 17.

       2                  Because defendant possessed fentanyl during the

       3    instant offense, the Court will note that the potency of

       4    fentanyl presents an enormous danger.           A January 2021 report

       5    released by the United States Sentencing Commission on fentanyl

       6    and fentanyl analog states, quote, "Fentanyl is approximately

       7    30 times more potent than heroin and approximately 60 times

       8    more potent than morphine, which results in an increased

       9    potential for fatality, particularly when the user is unaware

      10    they are using fentanyl."

      11                  Additionally, during defendant's arrest during the

      12    Rhome traffic stop, defendant possessed $17,007 in U.S.

      13    currency alongside 3,836 grams of methamphetamine actual.

      14    Defendant described in detail his role in the DTO with

      15    knowledge as to how that DTO charged for drugs, how they

      16    delivered drugs and how much they paid drivers.                That's

      17    reflected in PSR paragraph 14.          This DTO was connected to the

      18    Sinaloa Cartel, and defendant played a managerial role in

      19    trafficking controlled substances on behalf of that cartel.

      20    This is reflected in PSR paragraphs 15, 18 and 19.

      21                  The Court finds the 3553(a)(2)(A) factors and facts

      22    aggravating in the extreme and weighing heavily against

      23    defendant's motion for downward variance.

      24                  Next, pursuant to Section 3553(a)(2)(C) which

      25    requires the Court to promote respect for the law, to afford




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       1    adequate deterrence to criminal conduct and to protect the

       2    public from further crimes of the defendant, here, defendant

       3    has a history of criminality spanning the entirety of his adult

       4    life involving violent offenses and drug-trafficking offenses

       5    similar to the commission of this offense.

       6                  Despite many terms of incarceration, defendant has

       7    refused to refrain from illegal conduct.            This is reflected in

       8    PSR paragraphs 38 through 42.         Furthermore, defendant's

       9    criminal conduct shows a blatant disregard for law enforcement

      10    and the rule of law, as evidenced by his repeated criminality

      11    and offenses involving flight from arrest.            Again, this is

      12    detailed in PSR paragraphs 38 through 42.

      13                  The Court finds the 3553(a)(2)(C) factor and related

      14    facts aggravating in the extreme, weighing heavily against

      15    defendant's motion for downward variance.

      16                  For these reasons, the Court has tentatively

      17    determined that it should deny defendant's motion for downward

      18    variance.

      19                  I'll invite responsive argument from the Government

      20    as long as it is not cumulative of the written work product.

      21                  MS. BELL:    Nothing at this time, Your Honor.

      22                  THE COURT:   And, Mr. Elza, you may respond.         You are

      23    the movant.      You may respond with any argument you deem

      24    necessary.

      25                  MR. ELZA:    We would rely on the filings.        Nothing




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       1    that we have at this point would be noncumulative.

       2                  THE COURT:   Okay.   Thank you.

       3                  And, Mr. Elza, that the Court may have overruled

       4    various written objections or arguments made in sentencing

       5    memorandum does not mean the issues were not well briefed.

       6    This case garnered extensive legal research, analysis and

       7    briefing from both parties, and the Court thanks both defense

       8    counsel and the AUSA for excellent briefing.             I know it is a

       9    lengthy and complicated case, and the Court benefitted directly

      10    from the capable and effective assistance of defense counsel.

      11                  For all those reasons and reasons stated in the

      12    Government's response, the Court overrules any objection --

      13    well, I'm sorry, this is the motion for downward variance --

      14    the Court denies defendant's motion for nonguidelines downward

      15    variance based on the aforementioned weighting of the 3553(a)

      16    factors and facts.

      17                  Now let's turn to statements, final arguments and

      18    allocutions.

      19                  Ms. Bell, did the Government comply with any and all

      20    statutory obligations to identify and consult victims in this

      21    case?

      22                  MS. BELL:    Yes, Your Honor.

      23                  THE COURT:   And do you intend to present victim

      24    impact statements at sentencing?

      25                  MS. BELL:    No, Your Honor.




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       1                  THE COURT:    And, Mr. Elza, the Court did receive and

       2    does -- and has waived all deadlines to defendant's various

       3    certificates of achievement and accomplishment reflecting

       4    coursework that he has completed during his term of detention.

       5                  Does defense counsel intend to present any character

       6    statements through live testimony?

       7                  MR. ELZA:    One moment, Your Honor.

       8                  (Counsel and defendant conferred off the record.)

       9                  THE COURT:    Okay.   With that, let's turn to final

      10    arguments.      And just so counsel have at their disposal any

      11    documents timely before the Court or untimely before the Court,

      12    the Court has admitted as character statements the certificates

      13    of accomplishment.         Those are marked as Exhibit B to the

      14    sentencing hearing and those may be referenced as such, and the

      15    Court has admitted Defendant's Exhibit A, which is a written

      16    allocution spanning five pages signed by defendant.               I'll just

      17    ask that counsel be consistent in referencing those as

      18    Defendant's Exhibit A and Exhibit B.

      19                  So I'm going to begin with -- I know you're standing,

      20    Mr. Elza, but I'm going to begin with the Government, inviting

      21    final argument from the AUSA, and then I'll allow defense

      22    counsel to respond.        Do you have a preference on allocution and

      23    what order?

      24                  (Counsel and defendant conferred off the record.)

      25                  MR. ELZA:    Okay.    Mr. Barrow has told me that he does




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       1    have something he wants to address in allocution outside of the

       2    letter.

       3                  THE COURT:   Okay.   Do you want that to follow your

       4    argument or precede your argument?

       5                  (Counsel and defendant conferred off the record.)

       6                  MR. ELZA:    He's stated his preference is to go after

       7    me.

       8                  THE COURT:   Okay.   So we'll follow that order of

       9    operation, final argument from the AUSA, final argument from

      10    defense counsel, followed by defendant's allocution if he

      11    exercises his right.

      12                  MR. ELZA:    Your Honor, I think I owe you an answer

      13    from the other -- we do not intend to have live witnesses.

      14                  THE COURT:   Oh --

      15                  MR. ELZA:    I'd asked for a moment, but it was

      16    unrelated.      I should have just answered you before I asked for

      17    the moment.

      18                  THE COURT:   Okay.   I know there were a packet of

      19    certificates that are marked as Exhibit B.            I didn't know if

      20    any of the persons referenced in those certificates intended to

      21    submit character statements.         You have responded in the

      22    negative, correct?

      23                  MR. ELZA:    Correct, Your Honor.

      24                  THE COURT:   Okay.   So we've moved on from character

      25    statements.      Now to arguments and we'll follow the




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       1    aforementioned order.

       2                  Ms. Bell, you may proceed.

       3                  MS. BELL:    Your Honor, I would point the Court first

       4    to the history and characteristics of the defendant.               First to

       5    PSR paragraph 38, Your Honor, the defendant was released on

       6    parole from that offense in November of 2008.              Your Honor

       7    correctly states that this was a violent offense where the

       8    defendant was convicted of aggravated robbery where he forcibly

       9    took money from a victim and made threats to the victim.

      10                  Your Honor, while he was out on parole for that

      11    offense -- and I'm basing this on paragraph -- PSR paragraph

      12    41 -- the defendant in 2009 became a target of an investigation

      13    in distributing crack cocaine in Midland, Texas, Your Honor.

      14    So it is very close to the time that he was released on parole

      15    that he becomes a suspect.         Your Honor, the Government submits

      16    that he, when released, almost immediately engages in drug

      17    trafficking activity again and again, Your Honor, and this is

      18    evidence of that.

      19                  Your Honor, in that case he was in a role as the

      20    leader/organizer.         He was organizing with Paul Gary Allen.

      21    People do travel from Amarillo to Midland to recruit

      22    individuals to distribute crack cocaine as they felt the

      23    Midland market was more profitable and that money was coming

      24    back to Mr. Barrow in Amarillo.           He was convicted of that

      25    offense and he was placed in a residential reentry center in




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       1    Fort Worth.      He escaped from that facility.

       2                  So he's technically in the custody of the Bureau of

       3    Prison at the time that he committed the new state offense,

       4    which was November 22nd, 2017, reflected in PSR paragraph 42,

       5    Your Honor, where he had over 5 kilograms of cocaine and over

       6    $51,000 when he ran from police and he was convicted of that

       7    offense.      He's released from that offense, Your Honor, in

       8    September of 2020 and immediately engages in what leads up to

       9    the instant offense, the traffic stop in February of 2021, Your

      10    Honor.

      11                  And so again and again we can see that he engages in

      12    criminal activity almost immediately upon release, and then he

      13    engages in very significant criminal activity where he is the

      14    leader/organizer of drug activity, Your Honor, and significant

      15    drug activity, as the Court has discussed, over 200 kilograms

      16    at least.      And again, in his statement he said 2- to 300

      17    kilograms at least, Your Honor.          So that was a very

      18    conservative estimate.

      19                  Your Honor, given the nature and circumstances of the

      20    offense, the drug amounts and the dangerousness of all the

      21    drugs involved in this offense, we believe that it is

      22    aggravating and the Court should consider that.                And again, to

      23    protect the public from future crimes of the defendant who has

      24    shown over and over again, even when on supervision and

      25    immediately upon his release and throughout his whole adult




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       1    life, Your Honor, he's continued these significant criminal

       2    offenses and to protect the public from future crimes of this

       3    defendant, this sentence must be significant.             The Government

       4    believes that the appropriate sentence is life imprisonment,

       5    Your Honor.      We'd ask the Court to impose the same.

       6                  THE COURT:   Thank you, counselor.

       7                  The Court will give appropriate weight to the

       8    argument of the AUSA.

       9                  Mr. Elza, you may proceed with any argument you deem

      10    necessary.

      11                  MR. ELZA:    May I approach the podium?

      12                  THE COURT:   You may approach.

      13                  MR. ELZA:    Thank you, Your Honor, for affording us

      14    the opportunity to address the Court today, both up until this

      15    closing argument as well as this closing argument.

      16                  I'll start in probably an unusual way, and that is to

      17    thank this Court for the opportunity to represent Mr. Barrow.

      18    I have done it proudly and I'm proud of him, and, you know, as

      19    I stand here in front of this Court on repeated occasions, you

      20    know, I always tell this Court -- you know, my job is to tell

      21    the rest of the story, and there is so much more to this story.

      22                  You know, you can paint him with a consistent history

      23    of criminal conduct, but if you look behind that, you can paint

      24    him with a consistent history of being in debt to Victor

      25    Chavez, Jr. and his affiliates, including Vincent Chavez, Jr.




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       1    It's not to excuse, but it is to explain.            He cannot get out

       2    from the debt -- we heard that talk a lot today.               He cannot get

       3    out from that debt that goes back a long ways and deals not

       4    with a drug debt but with the debt of the reduced sentence that

       5    he got for cooperation many times before.

       6                  And there are roomful of agents behind me that I've

       7    worked with in many capacities throughout my career.              There's

       8    the U.S. Attorney's Office and their delegation that I've

       9    worked with throughout the years and they may have a different

      10    spin on why or motive, but when you go through this file, from

      11    the time of those reductions on the prior federal sentence,

      12    this is a person who has worked with law enforcement and who

      13    has given law enforcement many leads that led to successful

      14    prosecutions.

      15                  I did not intend to go there, but that's kind of

      16    where I feel this -- the hearing today led me to address that.

      17                  But why I'm here is to talk to you about Mandis.          I

      18    can't tell you, I guess I will at some point, how many hours

      19    I've spent with this man, but I mean, it's in the hundreds of

      20    hours, more than any probably civil client or criminal client

      21    I've had in 27 or 28 years, over and over up to last night.

      22    And -- and I'll tell you I'll vouch for him, I like him, and he

      23    is a likable person.      He is positive.       There are times he gets

      24    frustrated, but he never gets negative.

      25                  And those certificates that are Exhibit --




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       1                  THE COURT:    B.

       2                  MR. ELZA:    -- B only tell part of the story.           I hit

       3    it in our sentencing memorandum.             Almost since day one here he

       4    has led a Bible study at that jail daily.               At times, that Bible

       5    study is big enough that they afford him a larger room than

       6    just the corner of the dayroom where it might otherwise take

       7    place.    It is not a fraud.         We talk about religion.        We talk

       8    about the Bible.      He reminds me a lot about the Holy Spirit in

       9    our conversations.         And it is genuine.       I mean, he gets nothing

      10    by fooling me, right?         I mean, these are part of the

      11    relationship we have -- we have developed.

      12                  I will tell you this.         This Court, through voir dire,

      13    knows this.      I have many ties to Tulia, Texas.            It's the first

      14    place I remember living.           The first big case I ever worked on

      15    was the civil case from the Tulia drug bust.                I've represented

      16    the school district in federal litigation.               I represent the

      17    City now.      I've represented the hospital district.             I've

      18    represented the co-ops there.            I know that town and that

      19    community.      I'm there a lot.

      20                  And during that time, I have talked to a lot of

      21    people about Mandis and his old teachers, his old friends, one

      22    of the lawyers down there.           They tell you the things that I'm

      23    telling you, that he is likable and personable and smart and

      24    nice.    Everybody has a story about where he is.

      25                  I -- I recognize the trial, the suppression hearing,




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       1    the arguments of counsel, of opposing counsel, and those

       2    narratives go through and have a foundation.             They do, but they

       3    don't tell the full story.        They don't tell who he is and they

       4    don't define who he is.         He is a person.     He doesn't cuss.     He

       5    doesn't gossip.      And as you look through this sentencing

       6    memorandum, and I would like to hit just a little bit of it, I

       7    mentioned his religion.         It is real.    It is not to be -- to be

       8    mocked or discounted because of the circumstances he finds

       9    himself in.

      10                  There are people out there that work at the jail who

      11    call him the pastor of the dorm.          He takes it seriously, and

      12    one thing that was hard to communicate in paper is it is so

      13    important to him to help these men out there, young and old,

      14    but especially the young men out there on how to reestablish

      15    with their families.      Because that's the key.         If you're out

      16    there there's a good chance you have burned those bridges, but

      17    to him, he wants them to come out, to be able to know how to

      18    interact with a spouse or a fellow parent or their own parents

      19    because without that support they're likely to end up back

      20    there.

      21                  He's a student.    You know, it's hard out there to get

      22    access to the law library and it's restricted for the federal

      23    inmates quite a bit, but every chance he gets he goes there.

      24    Not just for himself and for the others.            I think your first

      25    thought, everybody's first thought is oh, no, not one of those




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       1    jailhouse lawyers.         Because, you know, we went -- I think

       2    anybody in this room can tell you about a year ago we had

       3    somebody out there who was getting everybody to go to trial.

       4    You probably saw that.        That's not what this man does.         He is

       5    out there trying to help people make the best decisions for

       6    themself.

       7                  And I -- I talk about those, and several of these I

       8    learned anecdotally.        A gentleman I stood here representing

       9    with severe mental illness, not talking about competency

      10    issues, I'm talking about mental illness, paranoia, absolutely

      11    making bad decisions, without knowing that I was his lawyer, I

      12    could not figure out what the change was.             The change was this

      13    man right here looking out for his fellow human being.               He got

      14    nothing out of it, got nothing out of helping that man.

      15                  THE COURT:    Changing of the guard.

      16                  MR. ELZA:    Okay, scared me.

      17                  The -- I had another client that I stood before this

      18    Court on -- who after his plea just became defiant and against

      19    everything, and again I couldn't figure out quite what happened

      20    but everything got good and it turned out it was Mr. Barrow

      21    sitting down and working through issues with him to help him

      22    understand and to trust.         Both of those cases worked out very

      23    favorably for young men that would not have without his

      24    mentorship and leadership.

      25                  He is a peacekeeper out there at that jail.           He has




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       1    mentored through the Bible study.              He has mentored through a

       2    young man who's fighting demons of self-harm and suicide that

       3    he still stays in touch with.         And I paint this because they're

       4    real and they're not stories he told me.              They're not stories a

       5    family member came and told me.          They -- in two years, with as

       6    many clients as I represent out there, these are stories that I

       7    have learned.

       8                  The other thing that I learned of kind of after I

       9    wrote this sentencing memorandum through a third party, a

      10    client that's out there, is, you know, a lot of these guys when

      11    they get out there, not to be crass, they kind of -- they find

      12    Jesus, they want to do better.          I mean, it's a shock to them,

      13    and education's part of that.         And not everybody just gets to

      14    go into a GED program.        You have to wait.        You have to be

      15    accepted.      There are a group of these young men that have

      16    reached out, and Mr. Barrow goes through with them to help them

      17    so that when they get into that class they can hit the ground

      18    running and get that GED.          Again, there's nothing in it for

      19    him.

      20                  THE COURT:   Yes, the defendant talks about that at

      21    page 4 of his written allocution --

      22                  MR. ELZA:    Okay.

      23                  THE COURT:   -- about helping inmates just launch and

      24    pursue their GEDs and all the coursework and classwork that he

      25    does.




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       1                  MR. ELZA:    And it's important to him.

       2                  And so -- so why do all these things matter?           Because

       3    there is so much good in a person.             He has found himself in an

       4    incredible mess that has lasted years and years.                You know, our

       5    goal, and I think the Court saw this at trial, we -- I hope the

       6    Court saw this at trial.        We tried our best to do this

       7    honorably.      It's hard to be on this side of the bar, but I hope

       8    that the way that we have presented this case have been in line

       9    with the person that I represent and his morals and how he sees

      10    the life.      We ask the Court for any -- any mercy, any

      11    consideration, but most importantly we ask the Court to

      12    understand who the rest of Mandis Barrow is.

      13                  Thank you.

      14                  THE COURT:   Thank you, counselor.

      15                  And the Court will note for any record on appeal that

      16    at all times defendant received capable and effective

      17    assistance of counsel.        I would characterize Mr. Elza's

      18    representation as impeccable in many ways, and I want to thank

      19    Mr. Elza for taking this opportunity to represent this

      20    defendant and to do so with the highest standards of

      21    professionalism.

      22                  So with that, I'll invite Mr. Barrow -- let me first

      23    explain to Mr. Barrow his right of allocution and then I'll

      24    give him a full and complete opportunity to allocute if he

      25    exercises that right.




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       1                  Mr. Barrow, you have an absolute right to allocute at

       2    federal sentencing.        Allocution simply means that you may tell

       3    the Court any information you think is important to the

       4    sentencing decision.        You may read aloud or rely upon this

       5    written allocution marked as Defendant's Exhibit A.               You may

       6    make arguments to the Court.          You may present facts for the

       7    Court to consider.         You have an absolute right to allocute at

       8    federal sentencing, but you can never be forced, compelled or

       9    coerced into allocution.

      10                  Having consulted with your attorney about the concept

      11    of allocution and your rights, do you choose to exercise your

      12    right of allocution?

      13                  THE DEFENDANT:    Yes, Your Honor.

      14                  THE COURT:    You may proceed.

      15                  (Counsel and defendant conferred off the record.)

      16                  THE DEFENDANT:    Your Honor, the affidavit that I

      17    actually wrote, I'm going to take my attorney's advice as far

      18    as that.      He already advised me that you have it, that you've

      19    read over it.      So I won't take up much more of the Court's time

      20    rereading it, but there is some things that I would like to

      21    address to the Court.

      22                  THE COURT:    Feel free to highlight anything in that

      23    Exhibit A that you want to draw attention to and to use this

      24    time for any other allocution you choose to enter.

      25                  THE DEFENDANT:    Yes, sir.




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       1                  Your Honor, I want the Court to understand who I am.

       2    You know, my attorney, he laid some things out to the Court

       3    that was all factual, but no one has known the fear that I've

       4    been in since 2017.      You know, the prosecution paints me out to

       5    be an individual that had been receiving large amounts of

       6    drugs, receiving these proceeds, enlisting individuals, and

       7    that just is -- that's not me.

       8                  And so I want the Court to understand that this all

       9    began with Victor Chavez and that I was doing my time in

      10    federal prison and an opportunity was presented to me to get

      11    out early.      And I knew the legal system, so I advised him of

      12    the legal system, and because of that I was rewarded.              And I

      13    thought that that's as far as it would go.            And so he actually

      14    was released before I was, him and another individual that was

      15    a part of that cooperation agreement.

      16                  And so once I had been released, little did I know

      17    that Victor was going to come back into my life that quickly.

      18    So as the -- Mrs. Bell noted, that true enough there was a

      19    delivery or an arrest made in Houston in 2017 while I was still

      20    technically on what she said was community supervision.              I was

      21    not at the halfway house.        I was on home confinement.

      22                  And so while I was on home confinement, Victor and

      23    some of his people came to my house, and at that particular

      24    moment I had no choice on what to do.           I was not on a leg

      25    monitor, but I was reporting to the actual halfway house on my




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       1    phone.    So when I went to work, I reported.           When I came back

       2    in from work, I reported.        And I was always at my home.

       3                  But that night when I had to leave the day before

       4    Thanksgiving, instead of me being able to spend time with my

       5    family, the entire -- all those years I had been away from,

       6    Victor and his people made me go to Houston.             It was not a

       7    choice that I had, nothing that I could do about it.

       8                  Once I got to Houston with individuals that he had

       9    actually provided to ride with me -- I was basically like a

      10    mule in the situation, but I had no say-so on who I was

      11    meeting, anything like that.         And so I didn't know that he was

      12    the target of the investigation.          All I knew was he told me and

      13    he made it very, very specific, very, very clear that this was

      14    the only way that I was going to be able to work off that debt

      15    for my incarceration, for me actually being released.              I didn't

      16    know it was going to be a debt for me.           I thought because I

      17    helped him be released, that I was going to be in the clear

      18    from that.

      19                  So that entire night I stayed there in Houston,

      20    calling home, trying to tell everyone like look, man,

      21    everything's okay, I'm -- right now I'm safe, but in reality it

      22    was far from it.      I was there with the Sicario that had two

      23    firearms.      She -- Mrs. Bell alluded to that.         I was there with

      24    these Sicarios that had two firearms, and when the police did

      25    try to apprehend me that day and I saw it, I took that as my




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       1    way out and I went on a high speed chase because at the moment

       2    I was afraid that this Sicario was going to shoot.

       3                  And so I didn't give him an opportunity to know that

       4    the police were behind us with the lights.             So I took off as

       5    fast as I could in the car and I ran it into a pole and jumped

       6    out running.      And little did I know that this individual was

       7    going to try to turn State's evidence on me and make it like it

       8    was my product, but the prosecutor at that particular moment

       9    knew exactly what the scenario was and what position I was in

      10    because she knew that Victor was already under investigation.

      11                  I had no opportunity to go back home to even be able

      12    to check in and report that next morning.             The entire time they

      13    could care less about my well-being.            The only thing that they

      14    cared about was me delivering that substance.              It's like I've

      15    been a mule for this organization in their regards on that

      16    particular case, and they -- from that day forth, my entire

      17    hands have been tied.         It's always threats after threats after

      18    threats after threats after threats.

      19                  (Counsel and defendant conferred off the record.)

      20                  THE DEFENDANT:    I'm not -- yeah, I'm not -- what I'm

      21    saying is nothing with this charge.             I'm talking about Houston,

      22    the Houston charge from 2017.

      23                  So from that day forth, the prosecutor, Mrs. Anna

      24    Bell, knows that these threats have been on my life since that

      25    day for that same day.         I showed the agents everything in my




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       1    phone.    I gave them all the authorization to get into my phone

       2    during that interview.        Even the agents themselves told me in

       3    the interview -- and you can actually have -- we actually have

       4    even at trial that there were hits on my life.             That was

       5    presented to them and that everyone seems as if they're

       6    ignoring it.

       7                  And that's the part that's a shame because when I

       8    went to the Government to try to deal with this situation, I

       9    felt like in the end that this was going to be my way finally

      10    of being free from these individuals, and I sought their help

      11    because they told me to give them the information in good

      12    faith.    And that's what I did.

      13                  She wasn't -- Mrs. Anna Bell, the ASU -- AUSA, was

      14    not present at that particular meeting.            They told me that she

      15    was busy, that there was no way that she was going to be able

      16    to go there.      I wanted absolute immunity.        I was instructed to

      17    hire the attorneys that was supposed to do the proffer for

      18    Victor Chavez, and that day that I hired the attorneys to do

      19    this for Victor Chavez, that was on December 15th, 2021.              She

      20    was present.      The agents were present.       And so I didn't

      21    understand exactly what was going to go on in that proffer, so

      22    I wanted absolute immunity just so that I could cooperate with

      23    them.

      24                  So little did they know -- and now it was brought out

      25    at trial, Your Honor, it was brought out at trial that Vincent




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       1    Chavez, that he had made up some of these -- these stories

       2    because he also had been told what to say.            When Victor Chavez

       3    was inside the county -- Randall County Jail when I was out

       4    before I came here -- before I got incarcerated, he sent

       5    someone out there from the Randall County Jail.                Phone records

       6    will prove this, that he bonded an individual out.               And when

       7    this individual was bonded out, he came to me with this

       8    information of what it was that I was supposed to say.               His

       9    girlfriend that is now charged with a particular crime had

      10    Victor's phone, and the phone that he actually had, that

      11    information was relayed to me to give to the prosecutor and the

      12    agents.

      13                  Everything from my hearing, from that interview was

      14    information that was given to me solely from Victor Chavez and

      15    Vincent Chavez.      And while I was out there, Vincent Chavez's

      16    family, his mothers, his sisters, the uncles, they all

      17    threatened me by phone and actually came to the house and even

      18    threatened my stepdaughters and Stephanie herself.               And I

      19    alluded that to the agents.         They have this on the record from

      20    my cell phone, violent text messages, not only from them but

      21    also from Victor Chavez's brothers.

      22                  There's been no way around this.        When I was out

      23    there I made a 9-1-1 call frantically one night from being

      24    chased on my way home.        And I called and called and called and

      25    no one -- no officers would pull over and I'm driving over




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       1    the -- excess over 100 miles an hour until I saw some lights of

       2    two squad cars pulled over, and then just frantic, just

       3    terrified, I went in there where they had the car pulled over

       4    just to get away from the individuals that was chasing me.

       5    I've been going through this this entire time since 2017,

       6    trying to free myself from one individual and one individual

       7    only, and that was Victor Chavez.              Vincent Chavez was just his

       8    right-hand man that was actually there far before I ever came

       9    out here, before I was ever released.

      10                  And so here it is I'm being told what to say at this

      11    interview, that now the Government is making a position that

      12    Vincent Chavez was a smallwig, but I have the affidavit here in

      13    front of me that they actually presented to get the search

      14    warrant to raid Vincent Chavez's house that says that he was a

      15    multi-pound distributor right in front of me.               But yet, they're

      16    making a stance that this is not accurate, that I recruited

      17    him.   I didn't even know this guy.

      18                  And then this Court has probably had at least a

      19    thousand federal cases.       My name has never been mentioned in

      20    anyone's proffers and anyone's debriefings at all because I was

      21    never around here selling anything.             I was never purchasing any

      22    drugs, never moving any drugs, and that's not ironic.                You have

      23    to think about this, Your Honor.          In a town this small, in a

      24    city this small, with someone moving drugs of that substantial

      25    amount, why is it that my name has never been brought up, Your




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       1    Honor, that now these two individuals come up with a story that

       2    has been out here at Randall County, has been on the phones

       3    actually coming up with these stories of what to say and what

       4    to do, even from my December 16th, 2021 interview.

       5                  And so now I stand in front of you right now facing a

       6    substantial amount of time, possibly take the rest of my life

       7    away for something that was never even factual, that I was only

       8    told what to say because Vincent Chavez and Victor Chavez only

       9    cared about one thing and it was themselves.             And so I stand at

      10    trial -- so I stood at trial, and that was not something that I

      11    wanted to do.      I didn't want to have to go to trial on this.

      12    The Government has been in positions where people have

      13    cooperated with them and they stayed out there on the streets.

      14    That was not offered to me.         That opportunity was not given to

      15    me.

      16                  But everything is always made to make me look bad.

      17    But the agents themselves testified at my trial, Your Honor,

      18    and not just testified but testified to information that was

      19    inaccurate and that the prosecution actually held.              And the

      20    inaccuracies was, Your Honor, that on the December 16th

      21    interview, those agents that were involved with Koval,

      22    Blackerby and Special Agent Brown, those three agents came into

      23    a discussion with me to see how I could get these drugs from

      24    this DTO.

      25                  Once this information was made, they presented an




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       1    opportunity to where they said so much money could be presented

       2    and could I actually secure the deal, and I had to tell them

       3    that it was going to take much more money than that.               There

       4    could not be something that small.             And so ten days later, nine

       5    days later, I'm going to visit my family in Fort Worth, and on

       6    my way to visit my family I get a phone call from the DTO.                 I

       7    get the phone call from the DTO.

       8                  And so the agent himself already knew that this was a

       9    cooperation agreement.        In my mind, I thought that this is what

      10    was going on.      Because for so many times with the Amarillo

      11    Division, the Midland/Odessa Division and the Lubbock Division,

      12    these agents had already made their approvals through the

      13    government, through the AUSAs and the prosecutors there.               And

      14    so I immediately thought it was the same thing.

      15                  So he testified at the trial, Special Agent Brown,

      16    that a phone call did not take place, and this was factual,

      17    that he had text messages that he instructed me to make, a

      18    phone call that he instructed me to actually make that we

      19    actually discussed back and forth.             I actually had to pull over

      20    on the highway while I was driving.            But he testified that that

      21    was not the case, that it never happened.

      22                  And so I'm not privileged to be able to go and grab

      23    my phone and look up all of the threats.             I'm not privileged to

      24    be able to go back and tell the Court hey, look, look at this

      25    phone call that was made with Special Agent Brown.               Look at




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       1    these text messages that was made with Special Agent Brown.

       2    Look at this situation where I told Special Agent Brown and the

       3    other two agents, Koval and Blackerby, look, this is the

       4    cooperation that was done with El Paso before this was ever

       5    even a federal case.

       6                  And yet we're standing here today and there's not

       7    even been one attempt at a motion presented by the Government

       8    in my behalf, and it just shows an act of bad faith and bad

       9    precedence with this Court, with the prosecution, because who

      10    in the world would be in a situation to where they're

      11    cooperating to this extent and never receiving anything for it?

      12    And that the agents knew about it and then they made it very,

      13    very clear, We don't want you working with anyone else.               We

      14    only want you working with us.           But then they deny that it was

      15    ever an opportunity for me to ever be presented with this and

      16    they made it a statement saying that it was very, very clearly

      17    made to me.      And it was never made to me.         The first time I

      18    heard it was at trial.

      19                  And there's something that I wanted to address, Your

      20    Honor, and I need your help because I don't know this, I'm

      21    unfamiliar with this.         And so I've talked to my attorney about

      22    it briefly, and we haven't just really had a lot of time to

      23    really discuss the matter.

      24                  So at trial, when we were having the venire panel, we

      25    were -- my codefendant was on the same table that Mrs. Bell is




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       1    on right now, but she was on the far end of the table, to your

       2    far left.      And I was sitting around where Mrs. Bell was.          And

       3    so every time we did the housecleaning, Your Honor, like right

       4    now we would be faced -- you -- facing you and we would discuss

       5    everything, and then when the panel came in, we were placed on

       6    the other side of the table so that way we could be addressing

       7    like the members are out there in the gallery right now.

       8                  And so I felt that there was a way to protect me and

       9    my codefendant from any assumptions made against us, and so I

      10    had the opportunity to be provided with clothing from my

      11    attorney and my family to make sure that there was no unfair

      12    assumptions made.      But yet, right when it was time to bring the

      13    actual jury pool in, the actual jurors that actually made the

      14    cut, I don't know if it was a mistake, Your Honor, but I was on

      15    this side of the table.       I was actually standing right where

      16    Mrs. Bell is sitting right now.          And so the jury was paraded

      17    right through here and they had to go to -- right through here

      18    to the actual jury room, but before they went, they actually

      19    got their seats here.

      20                  And so one by one those jurors came through and they

      21    actually got to look at me in these shackles.             And so right

      22    away I was concerned about was this a situation that would harm

      23    me later by one of these jurors or multiple jurors thinking

      24    that I was already guilty.        And I wasn't familiar with the

      25    process.




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       1                  THE COURT:   I'm familiar with the nature of your

       2    complaint.      It appears in your written allocution at page 4.

       3                  THE DEFENDANT:    Yes, sir.

       4                  THE COURT:   Quote, "The jury paraded right down the

       5    aisle with me directly in front of them, shackled the way that

       6    I was in full view of the wrong side of the table looking like

       7    I was already guilty."

       8                  The Court finds that defendant's recollection of his

       9    dress and restraint is incorrect.               From voir dire to verdict,

      10    this Court, court staff, marshals, prosecutors, defense counsel

      11    and the court security officers worked tirelessly to ensure

      12    that the table provided cloaking and that your manner of dress

      13    and the way that you were seated at that table were all

      14    designed by all involved to ensure that we didn't communicate

      15    anything by the nature of your dress and restraints.

      16                  In fact, I worked tirelessly with the marshals, the

      17    court security officer, the courtroom deputy and the clerk's

      18    office to ensure that the configuration of the room, that the

      19    cloaking of the table and the placement of your restraints at

      20    no time were within view of venire members and the eventual

      21    jury.   And because of the way this Court is configured, there's

      22    little to zero probability that had any impact on your case,

      23    either at the voir dire phase or when the jury was seated.

      24                  So we carefully monitored that at all times, and I

      25    find that Mr. Elza in particular was diligent in ensuring that




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       1    your manner of dress and the way in which you were restrained

       2    would never affect any impression that venire members or

       3    eventual jurors had about you or your case.                So I understand

       4    the nature of your concern, but I observed it from this perch

       5    from start to finish and at no time did that have any bearing

       6    on the way people viewed you.           So I want to reassure you that I

       7    worked very closely with defense counsel, the Government and

       8    all of the court staff to make sure that that would have no

       9    affect on your case.

      10                  (Counsel and defendant conferred off the record.)

      11                  THE COURT:   And at this time, do you have any

      12    additional allocution that you would like to provide in

      13    addition to Defendant's Exhibit A which I have admitted, I have

      14    read and I will give weight to?

      15                  THE DEFENDANT:    Your Honor?

      16                  THE COURT:   Please proceed.

      17                  THE DEFENDANT:    Okay.     I would just like to take this

      18    time right now to -- just to thank you.               You know, this

      19    process, like I told you, I didn't want to be here.                 I

      20    apologize for this Court and for the members that have to

      21    actually go through this process.               And I mean that from the

      22    bottom of my heart, you know.           This situation, it is what it

      23    is, we have to address it.         I'm standing here before you right

      24    now and I'm basically asking your mercy.               I'm basically asking

      25    for an opportunity at a life that I've tried my best at times,




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       1    you know, to do the right thing.          And it bit me -- it bit me

       2    this time.      I trusted the Government and the Government didn't,

       3    in my own view, act in good faith towards me.

       4                  But regardless, I'm here in front of you and I take

       5    this situation seriously and I don't take it lightly.              And from

       6    day one since I've been here, I've been doing everything that I

       7    can to try to make myself to be a better man regardless of my

       8    location.      So I just thank you for this opportunity.

       9                  THE COURT:   Thank you, Mr. Barrow.        The Court will

      10    give appropriate weight to your oral allocution.               I'll consider

      11    that a supplement to the written allocution that you submitted

      12    as Defendant's Exhibit A.

      13                  At this time, does counsel for the defendant know of

      14    any reason why lawful sentence may not be imposed?

      15                  MR. ELZA:    No, we're ready to proceed with sentence,

      16    Your Honor.

      17                  THE COURT:   Any reason known to the Government?

      18                  MS. BELL:    No, Your Honor.

      19                  THE COURT:   Having considered the permissible factors

      20    set forth at 18 U.S.C. Section 3553(a), the advisory sentencing

      21    guidelines, the conduct admitted in the factual resume, the

      22    capable, effective and impeccable assistance of defense

      23    counsel, and all mitigating and aggravating factors, it is the

      24    judgment of the Court that the defendant Mandis Charles Barrow

      25    is hereby committed to the custody of the Federal Bureau of




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       1    Prisons for a period of life.          This represents a sentence

       2    within the advisory guidelines range in this case.

       3                  The Court does not order a fine because defendant

       4    lacks the financial resources or future earning capacity to pay

       5    a fine.       The Court, however, does order a mandatory special

       6    assessment of $100 as to Counts 1, 2 and 3 for a total of $300,

       7    which is due and payable immediately.

       8                  This sentence shall run consecutively to any sentence

       9    which may be imposed in case number 2:22-cr-001-Z-01 presently

      10    pending in the Northern District of Texas Amarillo Division.

      11    This case involves a pending revocation of supervised release.

      12                  The Court states that it does not order restitution

      13    because there are no identifiable victims other than society at

      14    large.

      15                  The Court further orders that upon release from

      16    imprisonment the defendant shall be placed on supervised

      17    release for a term of five years as to each count of

      18    conviction, which will run concurrently.

      19                  While on supervised release, defendant shall comply

      20    with the mandatory conditions listed 18 U.S.C. Section 3583(d)

      21    and Section 5D1.3(a), the standard conditions listed at Section

      22    5D1.3(c) of the Guidelines Manual, and the following

      23    discretionary, special and additional conditions of supervised

      24    release which are derived from Sections 5D1.3(b), (d) and (e)

      25    of the Guidelines Manual.




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       1                  Number one, the defendant shall participate in

       2    outpatient mental health treatment services as directed by the

       3    probation officer until successfully discharged.                 These

       4    services may include medications prescribed by a licensed

       5    physician.      The defendant shall contribute to the cost of

       6    services rendered copayment at a rate of at least $40 per

       7    month.

       8                  Number two, the defendant shall participate in an

       9    outpatient program approved by the probation officer for

      10    treatment of narcotic drug or alcohol dependency that will

      11    include testing for the detection of substance use, abstaining

      12    from the use of alcohol and all other intoxicants during and

      13    after completion of treatment and contributing to the cost of

      14    services rendered copayment at the rate of at least $40 per

      15    month.

      16                  Now, Mr. Elza, these conditions of supervised release

      17    were set forth in the written notice of intent to impose

      18    conditions of supervised release.              Did you and your client

      19    receive a timely copy of that document?

      20                  MR. ELZA:    We received them yesterday and were able

      21    to go over them last night and sign them.

      22                  THE COURT:   And did you specifically explain the

      23    discretionary, special and additional conditions of supervision

      24    reflected on page 4?

      25                  MR. ELZA:    I did, Your Honor.




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       1                  THE COURT:   And does your client have any objections

       2    to the conditions of supervised release stated in the written

       3    notice and pronounced orally at sentencing?

       4                  MR. ELZA:    No, Your Honor.

       5                  THE COURT:   And, Ms. Bell, did the Government receive

       6    a timely copy of that notice?

       7                  MS. BELL:    Yes, Your Honor.

       8                  THE COURT:   And does the Government have any

       9    objections to the conditions of supervision stated therein?

      10                  MS. BELL:    No objections.

      11                  THE COURT:   Any objections to the Court's

      12    pronouncement of the conditions of supervised release?

      13                  MS. BELL:    No, Your Honor.

      14                  THE COURT:   The notice and conditions of supervised

      15    release stated therein are hereby adopted, ordered and imposed

      16    as just pronounced by the Court.          The Court did receive a fully

      17    executed copy of that notice.         It is dated January 18, 2024.

      18    It bears the signature of the defendant, defense counsel and

      19    this Court.      It's made a part of the record in this case and in

      20    any record on appeal.

      21                  The Court will now state its reasons for imposing

      22    this particular sentence.

      23                  Here, the sentence is sufficient but not greater than

      24    necessary to comply with the statutory purposes of 18 U.S.C.

      25    Section 3553(a), specifically the reasons previously stated by




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       1    the Court in adjudicating defendant's motion for downward

       2    variance.      The Court incorporates by reference those reasons as

       3    the Court's statement of reasons.

       4                  For every reason identified as aggravating in this

       5    case specific to 3553(a) factors that apply, the Court did

       6    consider the significant mitigating factors reflected in the

       7    sentencing memorandum and also in the PSR, and the Court does

       8    find defendant received capable and effective representation in

       9    presenting those mitigating factors throughout the sentencing

      10    process.      And the Court specifically considered defendant's

      11    difficult upbringing reflected in PSR paragraphs 54, 55 and 56.

      12                  The Court imposed a term of supervised release

      13    because it'll provide an added measure of deterrence and

      14    protection.      Guided by the Fifth Circuit's opinion in Diggles

      15    and cases applying same, this Court adopted, imposed and

      16    ordered the discretionary conditions of supervised release

      17    because they are consistent with Section 3583(d)(1), (d)(2) and

      18    (d)(3), and the Court expressly states that the discretionary

      19    conditions of supervised release involve no greater deprivation

      20    of liberty than reasonably necessary.           This is a requirement of

      21    3553(a)(2)(B), (a)(2)(C) and (a)(2)(D).

      22                  Regarding the denial of federal benefits, as noted in

      23    PSR paragraphs 88 and 89, defendant, having been convicted of a

      24    second drug distribution offense, shall be ineligible for any

      25    and all federal benefits for up to ten years at the discretion




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       1    of the Court.      However, this Court is declining to exercise its

       2    discretion in this case and expressly declines to make

       3    defendant ineligible for federal benefits.            Stated differently,

       4    the Court is exercising its discretion in the opposite

       5    direction and declining to deny federal benefits to defendant.

       6                  The Court has now stated the sentence and its reasons

       7    therefore.

       8                  Does defense counsel have any objection to the

       9    statement of sentence?

      10                  MR. ELZA:    No, Your Honor.

      11                  THE COURT:   Any objection to the statement of

      12    sentence from the Government?

      13                  MS. BELL:    No, Your Honor.

      14                  THE COURT:   The Court hereby orders the sentence

      15    imposed as stated.

      16                  Finally and emphatically, even if the correct

      17    advisory guidelines range was not considered, this Court would

      18    have imposed the exact same sentence had it not made the error

      19    and it would have done so for the exact same reasons given

      20    during the sentencing hearing, regardless and irrespective of

      21    the applicable advisory guidelines range.

      22                  Stated differently, had defendant prevailed on his

      23    objections affecting the calculation of the guidelines range

      24    culminating in a lesser guidelines range, this Court would have

      25    used the tool of upward variance to arrive at the exact same




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       1    sentence for the exact same reason, life imprisonment.

       2                  Additionally, this Court presided over the

       3    suppression hearing, pretrial conference, trial and this

       4    sentencing and was thereby well acquainted with the relevant

       5    facts, evidence, testimony, exhibits and jurisprudence

       6    necessary to balance the Section 3553(a) factors and reach this

       7    result, life imprisonment.

       8                  Now, Mr. Slater, I will hear your requested

       9    recommendations for medical care, vocational training and

      10    residential placement.

      11                  Beginning with medical, PSR paragraphs 60, 61 and 62,

      12    alongside the addendum, reflect that defendant has suffered

      13    from mental health issues; some orthopedic issues, including a

      14    hernia; and that defendant is expressly interested in mental

      15    health treatment and substance abuse treatment.

      16                  Are there particular programs you would request?

      17                  MR. ELZA:    No, I think it starts with an evaluation

      18    to see what he needs.         My -- it's not my understanding -- and I

      19    know that he will follow the recommendations up to and

      20    including mental health treatment, individual, group, possibly

      21    medication if that's recommended.               These go back a long ways

      22    and have not been treated, so we don't really have a starting

      23    point.    I think we need that initial evaluation that the Bureau

      24    of Prisons can provide.

      25                  THE COURT:   Okay.    Any objection from the Government?




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       1                  MS. BELL:    No, Your Honor.

       2                  THE COURT:   The Court does recommend that the

       3    defendant be allowed to participate in a full medical

       4    evaluation, if necessary be considered for initial placement in

       5    a Federal Medical Center or FMC to address the myriad

       6    conditions reflected in PSR paragraphs 60, 61, 62 and the

       7    addendum.      The Court further recommends that the defendant be

       8    allowed to participate in a mental health evaluation to

       9    identify possible counseling and treatment for the myriad

      10    traumas that appear in the PSR and addendum, and if prescribed

      11    and monitored by a licensed physician, mental health

      12    prescription drugs if necessary.

      13                  Finally, the Court does recommend that defendant be

      14    allowed to participate in the most intensive, if possible,

      15    Residential Drug Abuse Program, and the Court finds that

      16    defendant is a good candidate for drug rehabilitation treatment

      17    and substance abuse treatment given his multiple statements to

      18    the probation officer and this Court that he is interested in

      19    same.

      20                  There is no request for vocational training, but I

      21    know defendant is manifestly intelligent.            I know that he has

      22    some schooling up to this point.          I do want to give you an

      23    opportunity to request coursework or any sort of training, be

      24    it vocational or more purely scholastic.

      25                  MR. ELZA:    He is interested in any scholastic




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       1    opportunities that are available to him, be those legal-based

       2    would be the first preference or business-based.               He is, and I

       3    skipped that in my closing statement, he's incredibly bright,

       4    incredibly bright, better research skills than most any new

       5    lawyer.

       6                  THE COURT:   Okay.   Any objection, Ms. Bell?

       7                  MS. BELL:    No, Your Honor.

       8                  THE COURT:   The Court does recommend that the

       9    defendant be allowed to pursue any and all education deemed

      10    consistent with his security classification and eligibility to

      11    include scholastic training in fields of interest, including

      12    business, ministry and other fields.           The Court finds the

      13    defendant is an ideal candidate for continued vocational and

      14    educational training given his manifest intelligence and his

      15    participation and completion of programs through the detention

      16    period.

      17                  Regarding residential placement, I know that

      18    defendant has family in the Panhandle and also in the

      19    Dallas/Fort Worth Metroplex.

      20                  Are you prioritizing proximity to family or specific

      21    programs in requesting particular facilities?

      22                  MR. ELZA:    Based on -- we talked about this a lot.

      23    Based on him, his connections here -- he does have some family

      24    in the Arizona -- not the Arizona, I'm sorry -- in Arizona, and

      25    from a distance perspective probably would benefit from one of




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       1    the facilities in Tucson.

       2                  THE COURT:   Okay.   So I have a list of facilities

       3    that have residential drug programs.           That includes FCI

       4    Phoenix, but is it your understanding that there is also a

       5    facility at Tucson that would match his likely security

       6    classification?

       7                  MR. ELZA:    Actually, I went through the list and I

       8    overlooked Phoenix.        That would actually be the preference.

       9                  THE COURT:   Okay.

      10                  MR. ELZA:    You know, we went through it.        I just

      11    missed that last night.

      12                  THE COURT:   Okay.   So I can do Phoenix and then in

      13    the alternative Tucson.

      14                  Any objection, Ms. Bell?

      15                  MS. BELL:    No objection.

      16                  THE COURT:   This Court does recommend for reasons of

      17    separation from the Northern District of Texas and Amarillo

      18    Division that the defendant be allowed to serve this term of

      19    incarceration in the western region of the Bureau of Prisons

      20    system, if possible FCI Phoenix, in the alternative FCI Tucson,

      21    and at all times this recommendation is subject to the Bureau

      22    of Prisons exercising its discretion to determine defendant's

      23    security classification and eligibility.

      24                  And, Mr. Barrow, do you understand that I made as

      25    many recommendations as possible for your continued medical,




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       1    vocational and residential care, but it's ultimately the Bureau

       2    of Prisons that will decide your security classification and

       3    eligibility?       Do you understand that?

       4                  THE DEFENDANT:    Yes.

       5                  THE COURT:   Okay.    The Court notes that this

       6    defendant has been found guilty on all counts of the

       7    superseding indictment.        However, I do want to allow the

       8    Government an opportunity to dismiss any pending indictments or

       9    charges that need to be dismissed as to defendant -- as to this

      10    defendant only.

      11                  MS. BELL:    There is nothing to dismiss, Your Honor.

      12                  THE COURT:   Okay.    Now, Mr. Barrow, if you decide to

      13    appeal, your notice of appeal must be filed with this court

      14    within 14 days of the date judgment is entered in your case or

      15    within 14 days of the Government entering its notice of appeal.

      16    And if you do decide to pursue that appeal, you have an

      17    absolute right to apply for leave to appeal in forma pauperis

      18    or IFP.       This means that you may be able to pursue that appeal

      19    at no cost to yourself but instead at a cost to the Government.

      20                  Mr. Elza, did you and your client receive a timely

      21    copy of the notice of right to appeal?

      22                  MR. ELZA:    Yes, we received it yesterday, had an

      23    opportunity to go over it and sign it last night.

      24                  THE COURT:   And did you specifically explain to the

      25    defendant the 14-day period that applies to the notice of




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       1    appeal?

       2                  MR. ELZA:    I did, Your Honor.

       3                  THE COURT:    And does your client have any objections

       4    to the remaining appellate rights arising under this notice and

       5    described in this notice?

       6                  MR. ELZA:    No, he understands those are his appellate

       7    rights.

       8                  THE COURT:    Okay.   And, Ms. Bell, did the Government

       9    receive a timely copy of the notice of right to appeal?

      10                  MS. BELL:    Yes, Your Honor.

      11                  THE COURT:    And does the Government have any

      12    objections to the appellate rights described in that notice?

      13                  MS. BELL:    No, Your Honor.

      14                  THE COURT:    The Court did receive and did review a

      15    fully executed copy of the notice of right to appeal.               It bears

      16    the signature of the defendant, defense counsel and this Court.

      17    It is dated January 18, 2024.

      18                  And, Mr. Barrow, I know you've familiarized yourself

      19    with law libraries and those resources.             Please be mindful of

      20    the distinction between this notice of right to appeal and the

      21    notice of appeal.         That second document must be filed within

      22    that 14-day period we discussed.           If you have questions about

      23    the notice of appeal, please consult with counsel.               He can

      24    explain deadlines and deliverables.

      25                  Is there anything further from the Government?




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       1                  MS. BELL:    No, Your Honor.

       2                  THE COURT:   Anything further from the defendant?

       3                  MR. ELZA:    No, Your Honor.

       4                  THE COURT:   Mr. Barrow, you are hereby remanded into

       5    the custody of the United States Marshal.            We are adjourned.     I

       6    wish you good luck.

       7                  The Court stands adjourned for the remainder of the

       8    day.   Counsel are excused.

       9                  (The proceedings adjourned at 4:20 p.m.)

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       1                           C E R T I F I C A T E

       2             I, Shayna Montgomery, United States Court Reporter for

       3    the United States District Court in and for the Northern

       4    District of Texas, Amarillo Division, hereby certify that the

       5    above and foregoing contains a true and correct transcription

       6    of the proceedings in the above entitled and numbered cause.

       7

       8             WITNESS MY HAND on this 7th day of April, 2024.

       9

      10                                     /s/Shayna Montgomery
                                             SHAYNA MONTGOMERY, RMR, CRR
      11                                     United States Court Reporter
                                             205 SE 5th Ave, Room 133
      12                                     Amarillo, Texas 79101
                                             (806) 468-3816
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